EXHIBIT M
               Case 2:24-cv-01164 Document 1 Filed 08/01/24 Page 1 of 55



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 6

 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   PACIFIC WATER TECHNOLOGY, LLC,           Case No.
     SPRUCE WATERS INVESTMENTS, LLC,
10   INDIANA WATER TECHNOLOGY, LLC,           NOTICE OF REMOVAL
     AR WATER SUPPLY, LLC, BLC WATER
11   COMPANY, LLC, GRANITE STREET
     VENTURES, LLC, RUMSON WELLNESS,
12   LLC, BROWN FAMILY ENTERPRISES,
     LLC, KMANDY INVESTMENTS, L.L.C.,
13   EVER UPWARD, INC., SUN A WY, LLC,
     SIRIPI WST, LLC, LIVINGWATER
14   STATION, LLC, GRAYFIN VENTURES,
     LLC, PRASITI WATER INVESTMENTS,
15   LLC, JBF CONSULTING SERVICES, LLC,
     COCO AQUA, LLC, Q & V LLC,
16   WATERSTATION TECHNOLOGY OF
     ROCKVILLE, ARRAVEND, LLC,
17   FLATLANDS EQUIPMENT, LLC, C&C
     INVESTMENT HOLDINGS, LLC, GREAT
18   OAK WATER, LIMITED LIABILITY
     COMPANY, WV WATER TECH, LLC,
19   KDAWG CRYPTO, LLC, CULMINATE
     WATER TECHNOLOGY, LLC, CHUGIT,
20   LLC, CHAURISHI RETAIL ENTERPRISES,
     LLC, PROGRESSIVE PARTNERS, LLC, 210
21   SA HOLDING, LLC, WST UTAH LLC,
     V2S2, LLC, CYBORG HOLDINGS, LLC,
22   ASH VENDING, LLC, ADVENTURE DONE
     RIGHT, LLC, BIG BOY TOOLS LLC,
23   ROMAN JAROSIEWICZ, ABBY WYATT
     GROUP, INC., AIDEN WATERWORKS,
24   LLC, HOREB WATER SOLUTIONS, LLC,
     SILVER OAK H2O, LLC, NS SQ ECO
25   WATERS, LLC, JK SEVEN LLC, JEFFREY
     BROOKE, OED PROPERTIES LLC, JLE
26   ENTERPRISES, LLC, BE OF SERVICE,
     LLC, ETANIA, LLC, NIRA ENTERPRISES,
27   LLC, FACTS PROPERTY SERVICES, LLC,
     NOTICE OF REMOVAL - 1                                        LANE POWELL PC
                                                           1420 FIFTH AVENUE, SUITE 4200
                                                                    P.O. BOX 91302
                                                         SEATTLE, WASHINGTON 98111-9402
                                                            206.223.7000 FAX: 206.223.7107
               Case 2:24-cv-01164 Document 1 Filed 08/01/24 Page 2 of 55



 1   IMLSUNSHINE, LLC, REDWATERS, LLC,
     STARTER HOLDINGS, LLC, HELMUT
 2   GIEWAT, MAY AUERBACH, ROYAL
     RESERVOIRS, LLC, AQUALUX WATER
 3   LLC, RCWSTECH1157, LLC,
     COLEWSTECH, LLC, MAJI 8377, LLC,
 4   OAKS WATERSTATION TECH, LLC, SDB
     H20, LLC, WST, LLC, HALF FULL
 5   VENDING, LLC, RDWSTECH3594, LLC,
     ROSE TRAIL VENTURES, LLC, AND
 6   ROSE TRAIL VENTURES 2, LLC, PRAVIN
     THAKKAR JR, KWANSOO LEE, DDS,
 7   TOM ANDERSON, ABBEY ANDERSON,
     BRIAN CHU, DDS, LARINA CHU, DAVID
 8   SCHROEDER, SARAH SCHROEDER,
     REGINALD FRANKLIN, ANGEL
 9   FRANKLIN, DYLAN ROSS, TAYLOR
     ROSS, CODY BISHOP, DAVID BROWN,
10   KARTHIKA MANDYAM, DAVID
     BERANEK, SUSAN PINKERTON,
11   RADHIKA SIRIPIREDDY, KARL
     SCHOENLEBER, JAMES SARTAIN,
12   NIRUPA KESKAR, JOHN FLACK, TRUNG
     NGUYEN, LI LIANG, TAN QUAN
13   NGUYEN, ASHOKA SHEANH, MATHEW
     FELLOWS, CHARLES COGGINS,
14   THOMAS WAWERSICH, JASON
     BLOUGH, MICHELE BLOUGH, KAREN
15   LAVIN, PADMA KANDIKONDA, PAVAN
     KANDIKONDA, JAMES VILT II, BASANT
16   KUMAR, RADHIKA KAMALLA, MARC
     HILDEBRAND, DEBRA HILDEBRAND,
17   MERRILL STODDARD, DANIELLE
     STODDARD, VENKITA SHARMA,
18   TIMOTHY DAILEY, ROBERT HOERY,
     STEFANI HOERY, SEAN DONE, ANNA
19   DONE, STERLING DAVIS, MARK
     FLEMING, STACEY FLEMING, BO YANG,
20   STEVEN WELLS, DUSTIN BRAEGER,
     NAVANEETH KUMAR, WILLIAM WHITE,
21   JEANNETTE WHITE, JEFFREY BROOKE,
     JOSHUA OED, JAMES ESTES, ADRIA
22   ESTES, MICHAEL BAILEY, KARTHIGA
     JAYARAM, KARTHIKEYAN
23   RAMPRASATH, ARCHAN TLKOTI,
     AASHISH PAREKH, JACOB
24   LETOURNEAU, KARLA LETOURNEAU,
     KONDA REDDY GADI, SREELAKSHMI
25   SIRIPURAM, JOSHUA LEYKAM, PAIGE
     LEYKAM, HELMUT GIEWAT, DEREN
26   FLESHER, DDS, GARY YOUNG, HEIDI
     YOUNG, RONALD COLE, DDS, JAMES
27   WALKER, DDS, DUANE OKAMOTO,
     NOTICE OF REMOVAL - 2                                        LANE POWELL PC
                                                           1420 FIFTH AVENUE, SUITE 4200
                                                                    P.O. BOX 91302
                                                         SEATTLE, WASHINGTON 98111-9402
                                                            206.223.7000 FAX: 206.223.7107
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 1   LINDA OKAMOTO, SCOTT BURAU, DDS,
     BRAD BURAU, DDS, JOSH MCNARY, and
 2   ROBERT DOST, DDS,
 3                 Plaintiffs,
 4                               v.
 5   RYAN R. WEAR and REBECCA A. SWAIN,
     CREATIVE TECHNOLOGIES, LLC d/b/a
 6   WATERSTATION TECHNOLOGY, WST
     FRANCHISE SYSTEMS LLC, WATER
 7   STATION MANAGEMENT, LLC, KEVIN
     NOONEY and ELIZABETH NOONEY, and
 8   the marital community comprised thereof,
     REFRESHING USA, LLC, SUMMIT
 9   MANAGEMENT SERVICES, LLC, IDEAL
     PROPERTY INVESTMENTS, LLC,
10   REFRESHING CALIFORNIA L.L.C.,
     REFRESHING MONTANA, LLC,
11   REFRESHING MID-ATLANTIC, LLC,
     REFRESHING CAROLINES, LLC,
12   REFRESHING GREAT LAKES, LLC,
     WATERSTATION FINANCE COMPANY,
13   LLC, REFRESHING GEORGIA, LLC,
     CREATIVE TECHNOLOGIES FLORIDA,
14   LLC, REFRESHING FLORIDA, LLC, 2129
     ANDREA LANE LLC, 3209 VAN BUREN
15   LLC, ICE & WATER VENDORS, LLC,
     IDEAL INDUSTRIAL PARK, LLC, IDEAL
16   AZ PROPERTY INVESTMENTS, LLC, K-2
     ACQUISITION, LLC, EMERY
17   DEVELOPMENT, LLC, ARIZONA WATER
     VENDORS INCORPORATED, WST AZ
18   PROPERTIES LLC, 1118 VIRGINIA
     AVENUE LLC, 11519 SOUTH
19   PETROPARK LLC, TCR PLUMBING, LLC,
     3422 W CLARENDON AVE LLC, 1206
20   HEWITT AVE LLC, WATERSTATION
     TECHNOLOGY II, LLC, PISTOL, INC.,
21   SMOKEY POINT HOLDINGS, LLC, 602
     SOUTH MEAN, LLC, 719 EDEN, LLC, 343
22   GROUP LLC, 4300 FOREST LLC, 70 NO
     GARDEN, LLC, 204 NWW LLC,
23   WATERSTATION TECHVENTURE, LLC,
     WATER STATION HOLDINGS LLC,
24   WATERSTATION TECHNOLOGY, LLC,
     REFRESHING COLORADO LLC,
25   ARIZONA VENDORS INC., GOLDEN
     STATE VENDING, LLC, REFRESHING
26   FLORIDA LLC, REFRESHING MIDWEST,
     LLC, REFRESHING MIDWEST REAL
27   ESTATE, LLC, REFRESHING NEW
     NOTICE OF REMOVAL - 3                                        LANE POWELL PC
                                                           1420 FIFTH AVENUE, SUITE 4200
                                                                    P.O. BOX 91302
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                Case 2:24-cv-01164 Document 1 Filed 08/01/24 Page 4 of 55



 1   MEXICO, LLC, REFRESHING NEW
     ENGLAND LLC, REFRESHING TEXAS
 2   LLC, REFRESHING OKLAHOMA LLC,
     REFRESHING WASHINGTON, LLC,
 3   SMART SODA HOLDINGS, INC.,
     VENDPRO, LLC d/b/a ELITEVEND,
 4   HARRISON STREET, LLC, 602 SOUTH
     MEADOW LLC, 8825 LLC, UNIBANK, U &
 5   I FINANCIAL CORP., SIMON BAI,
     STEPHANIE YOON, D. BENJAMIN LEE,
 6   PETER PARK, FIRST FED BANK, FIRST
     NORTHWEST BANCORP, NORMAN
 7   TONINA, CRAIG CURTIS, JENNIFER
     ZACCARDO, CINDY FINNIE, DANA
 8   BEHAR, MATTEW DEINES, SHERILYN
     ANDERSON, GABRIEL GALANDA, LYNN
 9   TERWOERDS, LARRY HOUK,
     NORTHWEST FINANCIAL SERVICES,
10   LLC, and RICHARD WEAR,
11                               Defendants.
12   JAMES GROUP Int., LLC,
13
                   Plaintiff,
14
              v.
15
     WATER STATION MANAGEMENT, LLC;
16   CREATIVE TECHNOLOGIES, LLC; and
     RYAN WEAR and his marital community,
17
                   Defendants.
18
     AXIAL TILT, LLC, a Delaware domestic
19   limited liability company, and MOD
     HOLDINGS, LLC, a Delaware domestic
20   limited liability company,
21                 Plaintiffs,
22            v.
23   WATERSTATION, LLC, a Washington
     limited liability company, and RYAN WEAR,
24   an individual,
25                 Defendants.
26

27
     NOTICE OF REMOVAL - 4                                         LANE POWELL PC
                                                            1420 FIFTH AVENUE, SUITE 4200
                                                                     P.O. BOX 91302
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                Case 2:24-cv-01164 Document 1 Filed 08/01/24 Page 5 of 55



 1   JRC REAL ESTATE III, LLC, a California
     limited liability company,
 2
                    Plaintiff,
 3
               v.
 4
     WATER STATIONS MANAGEMENT, LLC,
 5   a Washington limited liability company,
 6                  Defendant.
 7   PURE WATER VENDING, LLC, a
     Washington limited liability company,
 8
                    Plaintiff,
 9
               v.
10
     WATER STATION MANAGEMENT, LLC, a
11   Washington limited liability company; and
     WST FRANCHISE SYSTEMS LLC, a
12   Washington limited liability company; and
     RYAN WEAR, an individual,
13
                    Defendants.
14
     EMMATOINE LLC, a Florida limited liability
15   company,
16                  Plaintiff,
17             v.
18   WATER STATION MANAGEMENT, LLC, a
     Washington limited liability company,
19
                    Defendants.
20
     RHINO MANUFACTURING, INC. and
21   RHINO INVESTMENTS, LLC,
22                  Plaintiffs,
23             v.
24   CREATIVE TECHNOLOGIES, LLC dba
     WATER STATION TECHNOLOGY;
25   WATER STATION MANAGEMENT, LLC,
26                  Defendants.
27
     NOTICE OF REMOVAL - 5                                         LANE POWELL PC
                                                            1420 FIFTH AVENUE, SUITE 4200
                                                                     P.O. BOX 91302
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                Case 2:24-cv-01164 Document 1 Filed 08/01/24 Page 6 of 55



 1   REX VENTURES LLC, a limited liability
     company,
 2
                    Plaintiff,
 3
               v.
 4
     WST FRANCHISE SYSTEM LLC, a
 5   Washington limited liability company;
     WATER STATION MANAGEMENT, LLC, a
 6   Washington limited liability company; and
     RYAN WEAR, an individual
 7
                    Defendants.
 8
     DENNIS DEMIRJIAN, an individual,
 9
                    Plaintiff,
10
               v.
11
     WATER STATION MANAGEMENT, LLC, a
12   Washington limited liability company;
     CREATIVE TECHNOLOGIES, LLC, a
13   Washington limited liability company;
     REFRESHING USA, LLC, a Washington
14   limited liability company; IDEAL
     PROPERTY INVESTMENTS, LLC, a
15   Washington limited liability company;
     SUMMIT MANAGEMENT SERVICES,
16   LLC, a Washington limited liability company;
     KEVIN NOONEY, an individual; and RYAN
17   WEAR, an individual,
18                  Defendants.
19   TANUSHKA WATER VENDING, LLC, a
     limited liability company; and AARANA
20   WATER VENDING, LLC, a limited liability
     company,
21
                    Plaintiffs,
22
               v.
23
     RYAN WEAR, an individual, and WATER
24   STATION MANAGEMENT, LLC, a limited
     liability company in Washington,
25
                    Defendants.
26

27
     NOTICE OF REMOVAL - 6                                         LANE POWELL PC
                                                            1420 FIFTH AVENUE, SUITE 4200
                                                                     P.O. BOX 91302
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                    Case 2:24-cv-01164 Document 1 Filed 08/01/24 Page 7 of 55



 1   WAKANDA VENTURES, LLC, a New
     Jersey limited liability company,
 2
                      Plaintiff,
 3
                 v.
 4
     WATER STATION MANAGEMENT, LLC, a
 5   Washington limited liability company; RYAN
     WEAR, an individual,
 6
                      Defendants.
 7
     PAUL MARTINCHUK,
 8
                      Plaintiff,
 9
                 v.
10
     WATER STATION MANAGEMENT, LLC, a
11   Washington limited liability company; WST
     FRANCHISE SYSTEM LLC, a Washington
12   limited liability company; CREATIVE
     TECHNOLOGIES LLC, a Washington limited
13   liability company; RYAN WEAR and
     REBECCA A. SWAIN, and the marital
14   community comprised thereof; and KEVIN
     NOONEY and ELIZABETH NOONEY, and
15   the marital community comprised thereof,
16                    Defendants.
17
     TO:              Clerk of Court
18
     AND TO:          The parties and their attorneys of record
19
            Defendants First Fed Bank, First Northwest Bancorp, Norman Tonina, Craig Curtis,
20
     Jennifer Zaccardo, Cindy Finnie, Dana Behar, Matthew Deines, Sherilyn Anderson, Gabriel
21
     Galanda, and Lynn Terwoerds (collectively, the First Fed Defendants), hereby remove to this
22
     Court the state-court action described below. The First Fed Defendants state the following grounds
23
     for removal:
24
                                               BACKGROUND
25
            1.        Certain plaintiffs filed their complaint in the state court on April 16, 2024. This
26
     complaint asserted the claims of only seven plaintiffs, and it did not name the First Fed Defendants.
27
     NOTICE OF REMOVAL - 7                                                        LANE POWELL PC
                                                                           1420 FIFTH AVENUE, SUITE 4200
                                                                                    P.O. BOX 91302
                                                                         SEATTLE, WASHINGTON 98111-9402
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                  Case 2:24-cv-01164 Document 1 Filed 08/01/24 Page 8 of 55



 1          2.      On June 20, 2024, Plaintiffs filed their first amended complaint. The amended
 2   complaint named the First Fed Defendants. It also named over 100 additional plaintiffs. A true and
 3   correct copy of the First Amended Complaint is attached hereto.
 4          3.      The First Fed Defendants were served on July 8, 2024.
 5          4.      The complaint alleges violation of the Washington State Securities Act and other
 6   state-law claims. Am. Compl.1 ¶ 1. It alleges that plaintiffs’ damages exceed $76,267,500.
 7          5.      Plaintiffs are citizens of various states. See Am. Compl. ¶¶ 11–74. Defendants are
 8   also citizens of various states. See id. ¶¶ 75–141. Further, certain plaintiffs are citizens of states,
 9   including Indiana, Rhode Island, and Tennessee, of which no defendant is a citizen. Compare id.
10   ¶¶ 13, 44, 16, 26, 35, 74, with id. ¶¶ 75–141.
11          6.      On certain plaintiffs’ motion, the action in which First Fed Defendants were named
12   was consolidated with 11 other actions. True and correct copies of each of those Complaints are
13   attached hereto. The action in which the First Fed Defendants were named was removable in its
14   own right. It remains removable after being consolidated, and consolidation renders all 12 actions
15   removable.
16                                     REMOVAL JURISDICTION
17          7.      Class Action Fairness Act. Congress passed the Class Action Fairness Act (CAFA)
18   “primarily to curb perceived abuses of the class action device.” United Steel, Paper & Forestry,
19   Rubber, Mfg., Energy, Allied Indus. & Serv. Workers Int’l Union, AFL-CIO, CLC v. Shell Oil Co.,
20   602 F.3d 1087, 1090 (9th Cir. 2010). “CAFA provides the federal district courts with “original
21   jurisdiction” to hear a “class action” if the class has more than 100 members, the parties are
22   minimally diverse, and the “matter in controversy exceeds the sum or value of $5,000,000.”
23   Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 592 (2013). CAFA also provides for removal
24   where the court would have had original jurisdiction. 28 U.S.C. § 1453(b). “[N]o antiremoval
25

26   1
      Citations to “Am. Compl.” are to the complaint naming First Fed Defendants. Complaints in the
     11 consolidated actions are cited by naming the first listed plaintiff in each complaint.
27
     NOTICE OF REMOVAL - 8                                                          LANE POWELL PC
                                                                             1420 FIFTH AVENUE, SUITE 4200
                                                                                      P.O. BOX 91302
                                                                           SEATTLE, WASHINGTON 98111-9402
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 1   presumption attends cases invoking CAFA, which Congress enacted to facilitate adjudication of
 2   certain class actions in federal court.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574
 3   U.S. 81, 89 (2014). Similarly, the forum state defendant rule does not apply under CAFA. See 28
 4   U.S.C. § 1332(d)(4)(A)(i)(II); see also 28 U.S.C. § 1453(c)(1). A removing defendant may allege
 5   citizenship on information and belief. Ehrman v. Cox Comm’cns, Inc., 932 F.3d 1223, 1227 (9th
 6   Cir. 2019).
 7          8.      Mass Action. This action is a deemed “class action removable” under CAFA. See
 8   28 U.S.C. § 1332(d)(11)(A). This is because it is a “civil action . . . in which monetary relief claims
 9   of 100 or more persons are proposed to be tried jointly on the ground that the plaintiffs’ claims
10   involve common questions of law or fact.” Id. § 1332(d)(11)(B)(1). Each plaintiff’s claims exceed
11   $75,000. See Am. Compl. ¶ 165. Each plaintiff’s claims also involve common questions of fact
12   and common questions of law related to allegedly similar transactions with defendants.
13          9.      Plaintiffs’ Citizenship. Citizenship of each plaintiff is alleged below. For the
14   purposes of CAFA, “an unincorporated association shall be deemed to be a citizen of the State
15   where it has its principal place of business and the State under whose laws it is organized.”
16   28 U.S.C. § 1332(d)(10). Citizenship of each plaintiff is alleged below. Plaintiffs in the action
17   naming First Fed Defendants are citizens of Arizona, California, Colorado, Connecticut, Delaware,
18   Florida, Illinois, Indiana, Kansas, Maryland, Michigan, Minnesota, Nevada, New Jersey, New
19   York, North Carolina, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island, South Carolina,
20   Tennessee, Texas, Utah, Virginia, Washington, West Virginia, Wyoming. The 11 consolidated
21   actions add a plaintiff with Georgia citizenship.
22          10.     Defendants’ Citizenship. Citizenship of each defendant is alleged below.
23   Defendants named alongside First Fed Defendants are citizens of Arizona, California, Colorado,
24   Delaware, Florida, Georgia, Illinois, Indiana, Montana, New Hampshire, New Mexico, North
25   Carolina, Ohio, Pennsylvania, Texas, Washington, Wyoming. The 11 consolidated actions do not
26   add defendants with additional states of citizenship.
27          11.     Minimal Diversity. The court has jurisdiction when “any member of a class of
     NOTICE OF REMOVAL - 9                                                          LANE POWELL PC
                                                                             1420 FIFTH AVENUE, SUITE 4200
                                                                                      P.O. BOX 91302
                                                                           SEATTLE, WASHINGTON 98111-9402
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                   Case 2:24-cv-01164 Document 1 Filed 08/01/24 Page 10 of 55



 1   plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A). This
 2   minimal diversity is met because plaintiffs are citizens of various states, and defendants are also
 3   citizens of various states. Further, certain plaintiffs are citizens of Indiana, Rhode Island, and
 4   Tennessee, of which no defendant is a citizen. Compare id. ¶¶ 13, 44, 16, 26, 35, 74, with id. ¶¶ 75–
 5   141.
 6           12.     Amount in Controversy. “The amount in controversy is simply an estimate of the
 7   total amount in dispute, not a prospective assessment of defendant’s liability” or a concession of
 8   liability. Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 400 (9th Cir. 2010). CAFA’s amount in
 9   controversy requirement is satisfied because the aggregate claims of the putative class members
10   exceed $5,000,000. 28 U.S.C. § 1332(d)(6). The amended complaint in the action naming First
11   Fed Defendants alleges that the aggregate investments of Plaintiffs totaled over $76,000,000, and
12   claims that damages sustained by Plaintiffs exceed this amount. Am. Compl. ¶¶ 165–66. Thus, the
13   amount in controversy greatly exceeds the $5,000,000 threshold. Further, the claims of individual
14   plaintiffs in the action in which First Fed Defendants are named exceed $75,000. See Am. Compl.
15   ¶ 165. The consolidation of 11 other actions only increases the amount in controversy.
16           13.     Exceptions to Jurisdiction. CAFA provides certain exceptions to jurisdiction.
17   Serrano v. 180 Connect, Inc., 478 F.3d 1018, 1024 (9th Cir. 2007). “The well-established rule that
18   the party seeking remand must prove the applicability of such exception governs with equal force
19   in the context of CAFA as with the general removal statute.” Id. In any case, no such exception
20   exists. First, there is no basis for the court to exercise discretion to decline jurisdiction because far
21   fewer than one-third of the plaintiffs (in both the action in which First Fed Defendants are named
22   and in all 12 actions consolidated) are Washington citizens. See 28 U.S.C. § 1332(d)(3). Second,
23   and for this same reason, there is no requirement for the court to decline jurisdiction. See id.
24   § 1332(d)(4). Third, none of the exceptions in 28 U.S.C. § 1453(d) apply. Each of these exceptions
25   requires that an action “solely” involve a certain subject matter. Because the amended complaint
26   naming First Fed Defendants does not “solely” concern the enumerated subject matter, neither the
27   action in which First Fed Defendants is named nor the consolidated action “solely” concerns this
     NOTICE OF REMOVAL - 10                                                          LANE POWELL PC
                                                                              1420 FIFTH AVENUE, SUITE 4200
                                                                                       P.O. BOX 91302
                                                                            SEATTLE, WASHINGTON 98111-9402
                                                                               206.223.7000 FAX: 206.223.7107
                 Case 2:24-cv-01164 Document 1 Filed 08/01/24 Page 11 of 55



 1   subject matter. The first § 1453(d) exception concerns securities defined as “covered securities” in
 2   15 U.S.C. § 77p(f)(3) and 15 U.S.C. § 78bb(f)(5)(E). Both these sections in turn refer to 15 U.S.C.
 3   § 77(r)(b)(1)–(2). The first component of the § 77(r)(b) definition concerns “security listed on a
 4   national stock exchange.” Cyan, Inc. v. Beaver Cnty. Emp.’s Ret. Fund, 583 U.S. 416, 423 (2018);
 5   see also See Katz v. Gerardi, 552 F.3d 558, 562–63 (7th Cir. 2009). The second component of the
 6   § 77(r)(b) definition concerns securities “issued by an investment company that is registered, or
 7   that has filed a registration statement, under the Investment Company Act of 1940.” 15 U.S.C.
 8   § 77p(b)(2). The Investment Company Act of 1940 concerns mutual funds. See Northstar Fin.
 9   Advisors, Inc. v. Schwab Investments, 615 F.3d 1106, 1109 (“The ICA was the counterpart in the
10   area of mutual fund regulation to the Securities Act of 1933 and the Securities Exchange Act of
11   1934 . . . .”). The amended complaint nowhere alleges that any supposed securities were listed on
12   a national stock exchange or were issued by mutual funds or similar investment companies.
13   Instead, it alleges that the supposed securities were unregistered. See, e.g., Am. Compl. ¶ 194. The
14   case therefore does not “solely” concern securities covered by the first § 1453(d) exception. The
15   second § 1453(d) exception concerns “the internal affairs or governance of a corporation or other
16   form of business enterprise.” 28 U.S.C. § 1453(d)(2). The amended complaint alleges nowhere
17   any claim related to corporate governance. It does not “solely” relate to this subject. The third
18   § 1453(d) exception concerns “rights, duties, or obligations created by or pursuant to a security.”
19   Eminence Investors, L.L.L.P. v. Bank of N.Y. Mellon, 782 F.3d 504, 506 (9th Cir. 2015). This
20   exception does not apply. To begin, the amended complaint concerns franchise agreements and
21   loans, neither of which are securities under the tests set out in Securities & Exchange Commission
22   v. Howey, 328 U.S. 293 (1946), and Reves v. Ernest & Young, 494 U.S. 56 (1990), and therefore
23   not securities within the meaning of 15 U.S.C. § 77b(a)(1), whose definition is referenced in
24   § 1453(d)(3). Further, the exception does not apply to claims asserting plaintiffs’ rights as
25   purchasers, rather than holders of supposed securities. Eminence Inv’rs, LLLP v. Bank of N.Y.
26   Mellon, 782 F.3d 504, 508 (9th Cir. 2015). The amended complaint repeatedly alleges as a basis
27   for its claims circumstances surrounding the offer and sale of the supposed securities. For example,
     NOTICE OF REMOVAL - 11                                                      LANE POWELL PC
                                                                          1420 FIFTH AVENUE, SUITE 4200
                                                                                   P.O. BOX 91302
                                                                        SEATTLE, WASHINGTON 98111-9402
                                                                           206.223.7000 FAX: 206.223.7107
                  Case 2:24-cv-01164 Document 1 Filed 08/01/24 Page 12 of 55



 1   the amended complaint alleges, “Defendants made false representations and/or nondisclosures
 2   through words and/or conduct that were material to, and induced Plaintiffs’ decisions to invest as
 3   applicable.” Am. Compl. ¶ 235; see also, e.g., id. ¶¶ 199, 207, 215, 221, 224, 228, 235. It therefore
 4   does not “solely” relate to duties created by a security.
 5                                 PROCEDURAL REQUIREMENTS
 6          14.     CAFA Procedures. CAFA eliminates certain procedural requirements for removal.
 7   There is no forum state defendant rule under CAFA, and no other defendant need consent to a
 8   removal under CAFA. See 28 U.S.C. § 1453(b).
 9          15.     Removal is timely. Plaintiffs served the First Fed Defendants on July 8, 2024. This
10   Notice of Removal is filed within 30 days of that date. See 28 U.S.C. § 1446(b).
11          16.     Venue. This Court is in the judicial district and division embracing Snohomish
12   County, Washington, where the state-court case was brought and is pending. Thus, it is the proper
13   district court for removal. See 28 U.S.C. § 1446(a).
14          17.     Notice. Concurrently with the filing of this Notice of Removal, Defendants are
15   giving written notice of Removal to Plaintiffs and filing a copy of this Notice of Removal with the
16   Clerk of the Snohomish County Superior Court, pursuant to 28 U.S.C. § 1446(d).
17          18.     Pleadings and Process. A copy of the complaint, process, and orders served upon
18   the First Fed Defendants are attached as Attachments A, B, C, D, and E. 28 U.S.C. § 1446(a). Also
19   attached are a certificate of service listing all counsel and pro se parties who have appeared in the
20   action and a civil cover sheet. LCR 101(b). Attached as Attachments F, G, H, I, J, K, L, M, N, O,
21   P, and Q are complaints in the consolidated actions, as well as a jury demand filed in one of them.
22   No other jury demand has been filed.
23          19.     Additional Records. True and complete copies of additional records and
24   proceedings on file in the state court will be submitted in accordance with Local Civil Rule 101(c).
25                                    PLAINTIFFS’ CITIZENSHIP
26          20.     Pacific Water Technology LLC is alleged to be registered in Washington and
27   owned by a Washington resident. Am. Compl. ¶ 11. According to the Washington Secretary of
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 1   State, it is organized under the laws of Washington and has its principal office in Puyallup,
 2   Washington. On information and belief, it is a citizen of Washington.
 3            21.     Spruce Waters Investments, LLC is alleged to be registered in Florida and owned
 4   by a Florida resident. Am. Compl. ¶ 12. According to the Florida Secretary of State, it is organized
 5   under the laws of Florida and has its principal office in Naples, Florida. On information and belief,
 6   Spruce Waters Investments, LLC is a citizen of Florida.
 7            22.     Indiana Water Technology, LLC is alleged to be registered in Indiana and owned
 8   by an Indiana resident. Am. Compl. ¶ 13. According to the Indiana Secretary of State, it is
 9   organized under the laws of Indiana and has its principal office in Indianapolis, Indiana. On
10   information and belief, it is a citizen of Indiana.
11            23.     AR Water Supply, LLC is alleged to be registered in Texas and owned by a New
12   York resident. Am. Compl. ¶ 14. According to the Texas Secretary of State, it is organized under
13   the laws of Texas and has an address in Frisco, Texas. On information and belief, it is a citizen of
14   Texas.
15            24.     BLC Water Company, LLC is alleged to be registered in Nevada and owned by a
16   California resident. Am. Compl. ¶ 15. According to the Nevada Secretary of State, it is organized
17   under the laws of Nevada and has an address in Las Vegas, Nevada. On information and belief, it
18   is a citizen of Nevada.
19            25.     Granite Street Ventures, LLC is alleged to be registered in Rhode Island and owned
20   by a Tennessee resident. Am. Compl. ¶ 16. According to the Rhode Island Secretary of State, it is
21   organized under the laws of Rhode Island and has its principal office in Franklin, Tennessee. On
22   information and belief, it is a citizen of Rhode Island and Tennessee.
23            26.     Rumson Wellness, LLC is alleged to be registered in New Jersey and owned by a
24   New York resident. Am. Compl. ¶ 17. Rumson Wellness is organized under the laws of New
25   Jersey and has an address in Rumson, New Jersey.2 On information and belief, it is a citizen of
26

27   2
         Certain secretaries of state provide a principal office address, while others provide only an
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 1   New Jersey.
 2           27.     Brown Family Enterprises, LLC is alleged to be registered in Oregon and owned
 3   by an Oregon resident. Am. Compl. ¶ 18. According to the Oregon Secretary of State, it is
 4   organized under the laws of Oregon and has its principal office in Salem, Oregon. On information
 5   and belief, it is a citizen of Oregon.
 6           28.     Kmandy Investments, LLC is alleged to be registered in Texas and owned by a
 7   Texas resident. Am. Compl. ¶ 19. According to the Texas Secretary of State, it is organized under
 8   the laws of Texas and has an address in McKinney, Texas. On information and belief, it is a citizen
 9   of Texas.
10           29.     Ever Upward, Inc. is alleged to be registered in Virginia and owned by a Virginia
11   resident. Am. Compl. ¶ 20. It is incorporated in Virginia and, according to the Virginia Secretary
12   of State, has its principal office in Las Vegas, Nevada. On information and belief, it is a citizen of
13   Virginia and Nevada.
14           30.     Sun A WY, LLC is alleged to be registered in Wyoming and owned by a Florida
15   resident. Am. Compl. ¶ 21. According to the Wyoming Secretary of State, it is organized under
16   the laws of Wyoming and has its principal office in Cape Coral, Florida. On information and belief,
17   it is a citizen of Wyoming and Florida.
18           31.     Siripi WST, LLC is alleged to be registered in Texas and owned by a Texas
19   resident. Am. Compl. ¶ 22. According to the Texas Secretary of State, it is organized under the
20   laws of Texas and has an office in Frisco, Texas. On information and belief, it is a citizen of Texas.
21           32.     LivingWater Station, LLC is alleged to be registered in South Carolina and owned
22   by a South Carolina resident. Am. Compl. ¶ 23. According to the South Carolina Secretary of
23   State, it is organized under the laws of South Carolina. According to other research, it has an
24   address in Saint Helena Island, South Carolina. On information and belief, it is a citizen of South
25   Carolina.
26
     address for an office, without indicating whether it is the principal office.
27
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 1           33.     Grayfin Ventures LLC is alleged to be registered in Texas and owned by a Texas
 2   resident. Am. Compl. ¶ 24. According to the Texas Secretary of State, it is organized under the
 3   laws of Texas and it has an address in Lewisville, Texas. On information and belief, it is a citizen
 4   of Texas.
 5           34.     Prasiti Water Investments, LLC is alleged to be owned by a Texas resident. Am.
 6   Compl. ¶ 25. The amended complaint does not allege where it is registered. According to the Texas
 7   Secretary of State, it is organized under the laws of Texas and it has an address in McKinney,
 8   Texas. On information and belief, it is a citizen of Texas.
 9           35.     JBF Consulting Services, LLC is alleged to be registered in Tennessee and owned
10   by a Tennessee resident. Am. Compl. ¶ 26. According to the Tennessee Secretary of State, it is
11   organized under the laws of Tennessee and it has its principal office in Germantown, Tennessee.
12   On information and belief, it is a citizen of Tennessee.
13           36.     Coco Aqua, LLC is alleged to be registered in Texas and owned by a Texas resident.
14   Am. Compl. ¶ 27. According to the Texas Secretary of State, it is organized under the laws of
15   Texas and has an address in Sugarland, Texas. On information and belief, it is a citizen of Texas.
16           37.     Q & V LLC, Waterstation Technology of Rockville is alleged to be registered in
17   Maryland and owned by a Maryland resident. Am. Compl. ¶ 66. According to the Maryland
18   Secretary of State, it is organized under the laws of Maryland and it has its principal office in
19   Rockville, Maryland. On information and belief, it is a citizen of Maryland.
20           38.     Arravend, LLC is alleged to be registered in Wyoming and owned by a Virginia
21   resident. Am. Compl. ¶ 28. According to the Wyoming Secretary of State, it is organized under
22   the laws of Wyoming and it has its principal office in Sheridan, Wyoming. On information and
23   belief, it is a citizen of Wyoming.
24           39.     Flatlands Equipment, LLC is alleged to be registered in Kansas and owned by a
25   Kansas resident. Am. Compl. ¶ 29. According to the Kansas Secretary of State, it is organized
26   under the laws of Kansas and has its principal office in Wichita, Kansas. On information and belief,
27   it is a citizen of Kansas.
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 1           40.     C&C Investment Holdings, LLC is alleged to be registered in North Carolina and
 2   owned by a North Carolina resident. Am. Compl. ¶ 30. According to the North Carolina Secretary
 3   of State, it is organized under the laws of North Carolina and it has its principal office in Raleigh,
 4   North Carolina. On information and belief, it is a citizen of North Carolina.
 5           41.     Great Oak Water, Limited Liability Company is alleged to be registered in Texas
 6   and owned by a Texas resident. Am. Compl. ¶ 31. According to the Texas Secretary of State, it is
 7   organized under the laws of Texas and it has an office in Allen, Texas. On information and belief,
 8   it is a citizen of Texas.
 9           42.     WV Water Tech, LLC is alleged to be registered in West Virginia and owned by a
10   West Virginia resident. Am. Compl. ¶ 32. According to the West Virginia Secretary of State, it is
11   organized under the laws of West Virginia and it has its principal office in Shepherdstown, West
12   Virginia. On information and belief, it is a citizen of West Virginia.
13           43.     Kdawg Crypto, LLC is alleged to be registered in Connecticut and owned by a
14   Connecticut resident. Am. Compl. ¶ 33. According to the Connecticut Secretary of State, it is
15   organized under the laws of Connecticut and it has its principal office in Milford, Connecticut. On
16   information and belief, it is a citizen of Connecticut.
17           44.     Culminate Water Technology, LLC is alleged to be registered in Virginia and
18   owned by a Virginia resident. Am. Compl. ¶ 34. According to the Virginia Secretary of State, it
19   has its principal office in Ashburn, Virginia. According to other research, it is organized under the
20   laws of Virginia. On information and belief, it is a citizen of Virginia.
21           45.     ChugIt, LLC is alleged to be registered in Florida and owned by a Tennessee
22   resident. Am. Compl. ¶ 35. According to the Florida Secretary of State, it is organized under the
23   laws of Florida and it has its principal office in St. George, Utah. On information and belief, it is
24   a citizen of Florida and Utah.
25           46.     Chaurishi Retail Enterprises, LLC is alleged to be registered in Oregon and owned
26   by an Oregon resident. Am. Compl. ¶ 36. According to the Oregon Secretary of State, it is
27   organized under the laws of Oregon and it has its principal office in Portland, Oregon. On
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 1   information and belief, it is a citizen of Oregon.
 2           47.     Progressive Partners, LLC is alleged to be registered in Virginia and owned by a
 3   Virginia resident. Am. Compl. ¶ 37. According to the Virginia Secretary of State, it has its
 4   principal office in Chantilly, Virginia. According to other research, it is organized under the laws
 5   of Virginia. On information and belief, it is a citizen of Virginia.
 6           48.     210 SA Holding, LLC is alleged to be registered in Texas and owned by a Texas
 7   resident. Am. Compl. ¶ 38. According to the Texas Secretary of State, it is organized under the
 8   laws of Texas and it has an address in San Antonio, Texas. On information and belief, it is a citizen
 9   of Texas.
10           49.     WST Utah LLC is alleged to be registered in Utah and owned by a Utah resident.
11   Am. Compl. ¶ 39. According to the Utah Secretary of State, it is organized under the laws of Utah
12   and it has its principal office in Kaysville, Utah. On information and belief, it is a citizen of Utah.
13           50.     V2S2, LLC is alleged to be registered in Colorado and owned by a Colorado
14   resident. Am. Compl. ¶ 40. According to the Colorado Secretary of State, it is organized under the
15   laws of Colorado and it has its principal office in Littleton, Colorado. On information and belief,
16   it is a citizen of Colorado.
17           51.     Cyborg Holdings, LLC is alleged to be registered in Washington and owned by an
18   Arizona resident. Am. Compl. ¶ 41. According to the Arizona Corporation Commission, it is
19   organized under the laws of Arizona and has its principal office in Phoenix, Arizona. On
20   information and belief, and notwithstanding the amended complaint allegation, it is a citizen of
21   Arizona.
22           52.     ASH Vending, LLC is alleged to be registered in Colorado and owned by a
23   Colorado resident. Am. Compl. ¶ 42. According to the Colorado Secretary of State, it is organized
24   under the laws of Colorado and it has its principal office in Highlands Ranch, Colorado. On
25   information and belief, it is a citizen of Colorado.
26           53.     Adventure Done Right, LLC is alleged to be registered in Utah and owned by a
27   Utah resident. Am. Compl. ¶ 43. According to the Utah Secretary of State, it is organized under
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 1   the laws of Utah and it has an address in Salt Lake City, Utah. On information and belief, it is a
 2   citizen of Utah.
 3           54.     Big Boy Tools LLC is alleged to be registered in Ohio and owned by an Indiana
 4   resident. Am. Compl. ¶ 44. According to the Ohio Secretary of State, it is organized under the laws
 5   of Ohio. According to other research, it has an address in Perrysburg, Ohio. On information and
 6   belief, it is a citizen of Ohio.
 7           55.     Roman Jarosiewicz is alleged to be a Minnesota resident. Am. Compl. ¶ 45. Mr.
 8   Jarosiewicz has an address in Minnesota and is registered to vote in Minnesota. On information
 9   and belief, Mr. Jarosiewicz is a citizen of Minnesota.
10           56.     Abby Wyatt Group, Inc. is alleged to be registered in South Carolina and owned by
11   a South Carolina resident. Am. Compl. ¶ 46. According to the South Carolina Secretary of State,
12   it is organized under the laws of South Carolina. According to other research, it has an address in
13   Taylors, South Carolina. On information and belief, it is a citizen of South Carolina.
14           57.     Aiden Waterworks, LLC is alleged to be registered in Michigan and owned by a
15   Michigan resident. Am. Compl. ¶ 47. According to the Michigan Secretary of State, it is organized
16   under the laws of Michigan. According to other research, it has an address in Northville, Michigan.
17   On information and belief, it is a citizen of Michigan.
18           58.     Horeb Water Solutions, LLC is alleged to be registered in Maryland and owned by
19   a Pennsylvania resident. Am. Compl. ¶ 48. According to the Maryland Secretary of State, it is
20   organized under the laws of Maryland and it has its principal office in Elkridge, Maryland. On
21   information and belief, it is a citizen of Maryland.
22           59.     Silver Oak H2O, LLC is alleged to be registered in Colorado and owned by a
23   Colorado resident. Am. Compl. ¶ 49. According to the Colorado Secretary of State, it is organized
24   under the laws of Colorado and it has its principal office in Glenwood Springs, Colorado. On
25   information and belief, it is a citizen of Colorado.
26           60.     NS SQUARE ECO Waters, LLC, named as NS SQ ECO Waters LLC in the caption
27   of the amended complaint, is alleged to be registered in Illinois and owned by an Illinois resident.
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 1   Am. Compl. ¶ 50. According to the Illinois Secretary of State, it is organized under the laws of
 2   Illinois and has its principal office in Aurora, Illinois. On information and belief, it is a citizen of
 3   Illinois.
 4            61.     JK Seven LLC is alleged to be registered in Delaware and owned by a Texas
 5   resident. Am. Compl. ¶ 51. According to the Delaware Secretary of State, it is organized under the
 6   laws of Delaware. According to other research, it has an address in Wilmington, Delaware. On
 7   information and belief, it is a citizen of Delaware.
 8            62.     Oed Properties LLC is alleged to be registered in Texas and owned by a Texas
 9   resident. Am. Compl. ¶ 53. According to the Texas Secretary of State, it is organized under the
10   laws of Texas and it has an address in The Woodlands, Texas. On information and belief, it is a
11   citizen of Texas.
12            63.     JLE Enterprises, LLC is alleged to be registered in Colorado and owned by a
13   Colorado resident. Am. Compl. ¶ 54. According to the Colorado Secretary of State, it is organized
14   under the laws of Colorado and it has its principal office in Castle Rock, Colorado. On information
15   and belief, it is a citizen of Colorado.
16            64.     Be of Service, LLC is alleged to be registered in Wyoming and owned by a Texas
17   resident. Am. Compl. ¶ 55. According to the Texas Secretary of State, it is organized under the
18   laws of Texas and it has an address in Las Vegas, Nevada. On information and belief, it is a citizen
19   of Texas and Nevada.
20            65.     Etania, LLC is alleged to be registered in Colorado and owned by a Colorado
21   resident. Am. Compl. ¶ 56. According to the Colorado Secretary of State, it is organized under the
22   laws of Colorado and it has its principal office in Denver, Colorado. On information and belief, it
23   is a citizen of Colorado.
24            66.     Nira Enterprises, LLC is alleged to be registered in Texas and owned by a Texas
25   resident. Am. Compl. ¶ 57. According to the Texas Secretary of State, it is organized under the
26   laws of Texas and it has an address in Plano, Texas. On information and belief, it is a citizen of
27   Texas.
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 1           67.      Facts Property Services, LLC is alleged to be registered in Arizona and owned by
 2   an Arizona resident. Am. Compl. ¶ 58. According to the Arizona Corporation Commission, it is
 3   organized under the laws of Arizona and has an address in Phoenix, Arizona. On information and
 4   belief, it is a citizen of Arizona.
 5           68.      IMLSunshine, LLC is alleged to be registered in Kansas and owned by a Kansas
 6   resident. Am. Compl. ¶ 59. According to the Kansas Secretary of State, it is organized under the
 7   laws of Kansas and it has its principal office in Lawrence, Kansas. On information and belief, it is
 8   a citizen of Kansas.
 9           69.      Redwaters, LLC is alleged to be registered in Illinois and owned by an Illinois
10   resident. Am. Compl. ¶ 60. According to the Illinois Secretary of State, it is organized under the
11   laws of Illinois and it has its principal office in Naperville, Illinois. On information and belief, it
12   is a citizen of Illinois.
13           70.      Starter Holdings, LLC is alleged to be registered in Arizona and owned by an
14   Arizona resident. Am. Compl. ¶ 61. According to the Arizona Corporation Commission, it is
15   organized under the laws of Arizona and it has an address in Phoenix, Arizona. On information
16   and belief, it is a citizen of Arizona.
17           71.      Helmut Giewat is alleged to be a Florida resident. Am. Compl. ¶ 62. A search for
18   public records about Mr. Giewat indicate that he is deceased. Nonetheless, on the basis of the
19   amended complaint, Mr. Giewat is, on information and belief, a citizen of Florida.
20           72.      May Auerbach is alleged to be a California resident. Am. Compl. ¶ 63. Ms.
21   Auerbach has a California address. On information and belief, Ms. Auerbach is a citizen of
22   California.
23           73.      Todd Auerbach is not named in the caption of the amended complaint, but he is
24   alleged to be California resident. Am. Compl. ¶ 63. Mr. Auerbach has a California address and is
25   licensed to practice dentistry in California. On information and belief, Mr. Auerbach is a citizen
26   of California.
27           74.      Royal Reservoirs, LLC is alleged to be registered in Oklahoma and owned by an
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 1   Oklahoma resident. Am. Compl. ¶ 64. According to the Oklahoma Secretary of State, it is
 2   organized under the laws of Oklahoma. According to other research, it has an address in Edmond,
 3   Oklahoma. On information and belief, it is a citizen of Oklahoma.
 4           75.      Aqualux Water LLC is alleged to be registered in Texas and owned by a Texas
 5   resident. Am. Compl. ¶ 65. According to the Texas Secretary of State, it is organized under the
 6   laws of Texas and it has an address in Southlake, Texas. On information and belief, it is a citizen
 7   of Texas.
 8           76.      RCWSTECH1157, LLC is alleged to be registered in Illinois and owned by an
 9   Illinois resident. Am. Compl. ¶ 67. According to the Illinois Secretary of State, it is organized
10   under the laws of Illinois and it has its principal office in Decatur, Illinois. On information and
11   belief, it is a citizen of Illinois.
12           77.      COLEWSTECH, LLC is alleged to be registered in Illinois and owned by an
13   Illinois resident. Am. Compl. ¶ 67. According to the Illinois Secretary of State, it is organized
14   under the laws of Illinois and it has its principal office in Decatur, Illinois. On information and
15   belief, it is a citizen of Illinois.
16           78.      Maji 8377, LLC is alleged to be registered in Michigan and owned by a Michigan
17   resident. Am. Compl. ¶ 68. According to the Michigan Secretary of State, it is organized under the
18   laws of Michigan and it has an address in Grand Blanc, Michigan. On information and belief, it is
19   a citizen of Michigan.
20           79.      Oaks Waterstation Tech, LLC is alleged to be registered in Wyoming and owned
21   by a Washington resident. Am. Compl. ¶ 69. According to the Washington Secretary of State, it is
22   organized under the laws of Washington and has its principal office in Sammamish, Washington.
23   On information and belief, it is a citizen of Washington.
24           80.      SDB H20, LLC is alleged to be registered in Florida and owned by a Florida
25   resident. Am. Compl. ¶ 70. According to the Florida Secretary of State, it is organized under the
26   laws of Florida and it has its principal office in Nokomis, Florida. On information and belief, it is
27   a citizen of Florida.
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 1          81.      WST, LLC is alleged to be registered in Florida and owned by a Florida resident.
 2   Am. Compl. ¶ 71. According to the Florida Secretary of State, it is organized under the laws of
 3   Florida and it has its principal office in Nokomis, Florida. On information and belief, it is a citizen
 4   of Florida.
 5          82.      Half Full Vending, LLC is alleged to be registered in Texas and owned by a Texas
 6   resident. Am. Compl. ¶ 72. According to the Texas Secretary of State, it is organized under the
 7   laws of Texas and it has an address in Rosenberg, Texas. On information and belief, it is a citizen
 8   of Texas.
 9          83.      RDWSTECH3594, LLC is alleged to be registered in Michigan and owned by a
10   Michigan resident. Am. Compl. ¶ 73. According to the Michigan Secretary of State, it is organized
11   under the laws of Michigan. According to other research, it has an address in Lexington, Michigan.
12   On information and belief, it is a citizen of Michigan.
13          84.      Rose Trail Ventures, LLC is alleged to be registered in Tennessee and owned by a
14   Tennessee Resident. Am. Compl. ¶ 74. According to the Tennessee Secretary of State, it is
15   organized under the laws of Tennessee and it has its principal office in Memphis, Tennessee. On
16   information and belief, it is a citizen of Tennessee.
17          85.      Rose Trail Ventures 2, LLC is alleged to be registered in Tennessee and owned by
18   a Tennessee resident. Am. Compl. ¶ 74. According to the Tennessee Secretary of State, it is
19   organized under the laws of Tennessee and it has its principal office in Memphis, Tennessee. On
20   information and belief, it is a citizen of Tennessee.
21          86.      Pravin Thakkar Jr. is alleged to be a Tennessee resident. Am. Compl. ¶ 74. Mr.
22   Thakkar has an address in Tennessee and a vehicle registered in Tennessee. On information and
23   belief, he is a citizen of Tennessee.
24          87.      Dr. Kwansoo Lee is alleged to be a Washington resident. Am. Compl. ¶ 11. Mr.
25   Lee has a Washington address and is licensed to practice dentistry in Washington. On information
26   and belief, Mr. Lee is a citizen of Washington.
27          88.      Tom Anderson is alleged to be a Florida resident. Am. Compl. ¶ 12. Mr. Anderson
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 1   has a Florida address and is registered to vote in Florida. On information and belief, Mr. Anderson
 2   is a citizen of Florida.
 3           89.     Abbey Anderson is alleged to be a Florida resident. Am. Compl. ¶ 12. Ms.
 4   Anderson has a Florida address and is registered to vote in Florida. On information and belief, Ms.
 5   Anderson is a citizen of Florida.
 6           90.     Dr. Brian Chu is alleged to be a California resident. Am. Compl. ¶ 15. Dr. Chu has
 7   a California address and is licensed to practice dentistry in California. On information and belief,
 8   Dr. Brian Chu is a citizen of California.
 9           91.     Dr. Larina Chu is alleged to be a California resident. Am. Compl. ¶ 15. Dr. Chu has
10   a California address and is licensed to practice dentistry in California. On information and belief,
11   Dr. Larina Chu is a citizen of California.
12           92.     David Schroeder is alleged to be an Indiana resident. Am. Compl. ¶ 13. Mr.
13   Schroeder has an Indiana address and is registered to vote in Indiana. On information and belief,
14   Mr. Schroeder is a citizen of Indiana.
15           93.     Sarah Schroeder is alleged to be an Indiana resident. Am. Compl. ¶ 13. Ms.
16   Schroeder has an Indiana address and is registered to vote in Indiana. On information and belief,
17   Ms. Schroeder is a citizen of Indiana.
18           94.     Reginald Franklin is alleged to be a New York resident. Am. Compl. ¶ 14. Mr.
19   Franklin has a New York address but has a Texas driver’s license and is registered to vote in Texas.
20   On information and belief, Mr. Franklin is a citizen of Texas.
21           95.     Angel Franklin is alleged to be a New York resident. Am. Compl. ¶ 14. Ms.
22   Franklin has a New York address but has a Texas driver’s license and is registered to vote in Texas.
23   On information and belief, Ms. Franklin is a citizen of Texas.
24           96.     Dylan Ross is alleged to be a New York resident. Am. Compl. ¶ 17. Mr. Ross has
25   a New York address and is registered to vote in New York. On information and belief, Mr. Dylan
26   Ross is a citizen of New York.
27           97.     Taylor Ross is alleged to be a New York resident. Am. Compl. ¶ 17. Mr. Ross has
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 1   a New Jersey address and is registered to vote in New York. On information and belief, Mr. Taylor
 2   Ross is a citizen of New Jersey.
 3          98.      Cody Bishop is alleged to be a Tennessee resident. Am. Compl. ¶ 16. Mr. Bishop
 4   has a Tennessee address and a vehicle registered in Tennessee. On information and belief, Mr.
 5   Bishop is a citizen of Tennessee.
 6          99.      David Brown is alleged to be an Oregon resident. Am. Compl. ¶ 18. Mr. Brown has
 7   an Oregon address. On information and belief, Mr. Brown is a citizen of Oregon.
 8          100.     Karthika Mandyam is alleged to be a Texas resident. Am. Compl. ¶ 19. Ms.
 9   Mandyam has a Texas address and a vehicle registered in Texas. On information and belief, Ms.
10   Mandyam is a citizen of Texas.
11          101.     David Beranek is alleged to be a Virginia resident. Am. Compl. ¶ 20. Mr. Baranek
12   has a Virginia address and is licensed as a pilot with a Virginia address. On information and belief,
13   Mr. Baranek is a citizen of Virginia.
14          102.     Susan Pinkerton is alleged to be a Florida resident. Am. Compl. ¶ 21. Ms. Pinkerton
15   has a Florida address and is registered to vote in Florida. On information and belief, she is a citizen
16   of Florida.
17          103.     Radhika Siripireddy is alleged to be a Texas resident. Am. Compl. ¶ 22. Ms.
18   Siripireddy has a Texas address and is registered to vote in Texas. On information and belief, Ms.
19   Siripireddy is a citizen of Texas.
20          104.     Karl Schoenleber is alleged to be a South Carolina resident. Am. Compl. ¶ 23. Mr.
21   Schoenleber has a South Carolina address and is registered to vote in South Carolina. On
22   information and belief, Mr. Schoenleber is a citizen of South Carolina.
23          105.     James Sartain is alleged to be a Texas resident. Am. Compl. ¶ 24. Mr. Sartain has
24   a Texas address and is registered to vote in Texas. On information and belief, Mr. Sartain is a
25   citizen of Texas.
26          106.     Nirupa Keskar is alleged to be a Texas resident. Am. Compl. ¶ 25. Ms. Keskar has
27   a Texas address and is registered to vote in Texas. On information and belief, Ms. Keskar is a
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 1   citizen of Texas.
 2            107.     John Flack is alleged to be a Tennessee resident. Am. Compl. ¶ 26. Mr. Flack has
 3   a Tennessee address and a vehicle registered in Tennessee. On information and belief, Mr. Flack
 4   is a citizen of Tennessee.
 5            108.     Trung Nguyen is alleged to be a Texas resident. Am. Compl. ¶ 27. Mr. Nguyen has
 6   a Texas address and is registered to vote in Texas. On information and belief, Mr. Nguyen is a
 7   citizen of Texas.
 8            109.     Li Liang is alleged to be a Texas resident. Am. Compl. ¶ 27. Ms. Liang has a Texas
 9   address and is registered to vote in Texas. On information and belief, Ms. Liang is a citizen of
10   Texas.
11            110.     Tan Quan Nguyen is alleged to be a Maryland resident. Am. Compl. ¶ 66. Mr.
12   Nguyen has a Maryland address. On information and belief, Mr. Nguyen is a citizen of Maryland.
13            111.     Ashoka Sheanh is alleged to be a Virginia resident. Am. Compl. ¶ 28. Mr. Sheanh
14   has a Virginia address. On information and belief, Mr. Sheanh is a citizen of Virginia.
15            112.     Mathew Fellows is alleged to be a Kansas resident. Am. Compl. ¶ 29. Mr. Fellows
16   has a Kansas address. On information and belief, Mr. Fellows is a citizen of Kansas.
17            113.     Charles Coggins is alleged to be a North Carolina resident. Am. Compl. ¶ 30. Mr.
18   Coggins has a North Carolina address. On information and belief, Mr. Coggins is a citizen of North
19   Carolina.
20            114.     Thomas Wawersich is alleged to be a Texas resident. Am. Compl. ¶ 31. Mr.
21   Wawersich has a Texas address and is registered to vote in Texas. On information and belief, Mr.
22   Wawersich is a citizen of Texas.
23            115.     Jason Blough is alleged to be a West Virginia resident. Am. Compl. ¶ 32. Mr.
24   Blough has a West Virginia address and is registered to vote in West Virginia. On information and
25   belief, Mr. Blough is a citizen of West Virginia citizen.
26            116.     Michele Blough is alleged to be a West Virginia resident. Am. Compl. ¶ 32. Ms.
27   Blough has a West Virginia address and is registered to vote in West Virginia. On information and
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 1   belief, Ms. Blough is a citizen of West Virginia.
 2          117.     Karen Lavin is alleged to be a Connecticut resident. Am. Compl. ¶ 33. Ms. Lavin
 3   has a Connecticut address. On information and belief, Ms. Lavin is a citizen of Connecticut.
 4          118.     Padma Kandikonda is alleged to be a Virginia resident. Am. Compl. ¶ 34. Ms.
 5   Kandikonda has a Virginia address. On information and belief, Ms. Kandikonda is a citizen of
 6   Virginia.
 7          119.     Pavan Kandikonda is alleged to be a Virginia resident. Am. Compl. ¶ 34. Mr.
 8   Kandikonda has a Virginia address. On information and belief, Mr. Kandikonda is a citizen of
 9   Virginia.
10          120.     James Vilt II is alleged to be a Tennessee resident. Am. Compl. ¶ 35. Mr. Vilthas a
11   Tennessee address and has a vehicle registered in Tennessee. On information and belief, Mr. Vilt
12   is a citizen of Tennessee.
13          121.     Basant Kumar is alleged to be an Oregon resident. Am. Compl. ¶ 36. Mr. Kumar
14   has an Oregon address. On information and belief, Mr. Kumar is a citizen of Oregon.
15          122.     Radhika Kamalla is alleged to be a Virginia resident. Am. Compl. ¶ 37. Ms.
16   Kamalla has a Virginia address. On information and belief, Ms. Kamalla is a citizen of Virginia.
17          123.     Marc Hildebrand is alleged to be a Texas resident. Am. Compl. ¶ 38. Mr.
18   Hildebrand has a Texas address and is registered to vote in Texas. On information and belief, Mr.
19   Hildebrand is a citizen of Texas.
20          124.     Debra Hildebrand is alleged to be a Texas resident. Am. Compl. ¶ 38. Ms.
21   Hildebrand has a Texas address and is registered to vote in Texas. On information and belief, Ms.
22   Hildebrand is a citizen of Texas.
23          125.     Merrill Stoddard is alleged to be a Utah resident. Am. Compl. ¶ 39. Mr. Stoddard
24   has a Utah address and is registered to vote in Utah. On information and belief, Mr. Stoddard is a
25   citizen of Utah.
26          126.     Danielle Stoddard is alleged to be a Utah resident. Am. Compl. ¶ 39. Ms. Stoddard
27   has a Utah address and is registered to vote in Utah. On information and belief, Ms. Stoddard is a
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 1   citizen of Utah.
 2          127.     Venkita Sharma is alleged to be a Colorado resident. Am. Compl. ¶ 40. Mr. Sharma
 3   has a Colorado address and is registered to vote in Colorado. On information and belief, Mr.
 4   Sharma is a citizen of Colorado.
 5          128.     Timothy Dailey is alleged to be an Arizona resident. Am. Compl. ¶ 41. Mr. Dailey
 6   has an Arizona address. On information and belief, Mr. Dailey is a citizen of Arizona.
 7          129.     Robert Hoery is alleged to be a Colorado resident. Am. Compl. ¶ 42. Mr. Hoery
 8   has a Colorado address and is registered to vote in Colorado. On information and belief, Mr. Hoery
 9   is a citizen of Colorado.
10          130.     Stefani Hoery is alleged to be a Colorado resident. Am. Compl. ¶ 42. Ms. Hoery
11   has a Colorado address and is registered to vote in Colorado. On information and belief, Ms. Hoery
12   is a citizen of Colorado.
13          131.     Sean Done is alleged to be a Utah resident. Am. Compl. ¶ 43. Mr. Done has a Utah
14   address and is registered to vote in Utah. On information and belief, Mr. Done is a citizen of Utah.
15          132.     Anna Done is alleged to be a Utah resident. Am. Compl. ¶ 43. Ms. Done has a Utah
16   address and is registered to vote in Utah. On information and belief, Ms. Done is a citizen of Utah.
17          133.     Sterling Davis is alleged to be an Indiana resident. Am. Compl. ¶ 44. Mr. Davis has
18   an Indiana address and is registered to vote in Indiana. On information and belief, Mr. Davis is a
19   citizen of Indiana.
20          134.     Mark Fleming is alleged to be a South Carolina resident. Am. Compl. ¶ 46. Mr.
21   Fleming has a South Carolina address and is registered to vote in South Carolina. On information
22   and belief, Mr. Fleming is a citizen of South Carolina.
23          135.     Stacey Fleming is alleged to be a South Carolina resident. Am. Compl. ¶ 46. Ms.
24   Fleming has a South Carolina address and is registered to vote in South Carolina. On information
25   and belief, Ms. Fleming is a citizen of South Carolina.
26          136.     Bo Yang is alleged to be a Michigan resident. Am. Compl. ¶ 47. Mr. Yang has a
27   Michigan address and is registered to vote in Michigan. On information and belief, Mr. Yang is a
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 1   citizen of Michigan.
 2            137.     Steven Wells is alleged to be a Pennsylvania resident. Am. Compl. ¶ 48. Mr. Wells
 3   has a Pennsylvania address and is registered to vote in Pennsylvania. On information and belief,
 4   Mr. Wells is a citizen of Pennsylvania.
 5            138.     Dustin Braeger is alleged to be a Colorado resident. Am. Compl. ¶ 49. Mr. Braeger
 6   has a Colorado address and is registered to vote in Colorado. On information and belief, Mr.
 7   Braeger is a citizen of Colorado.
 8            139.     Navaneeth Kumar is alleged to be an Illinois resident. Am. Compl. ¶ 50. Mr. Kumar
 9   has an Illinois address and a vehicle that is registered in Illinois. On information and belief, Mr.
10   Kumar is a citizen of Illinois.
11            140.     William White is alleged to be a Texas resident. Am. Compl. ¶ 51. Mr. White has
12   a Texas address and is registered to vote in Texas. On information and belief, he is a citizen of
13   Texas.
14            141.     Jeannette White is alleged to be a Texas resident. Am. Compl. ¶ 51. Ms. White has
15   a Texas address and is registered to vote in Texas. On information and belief, Ms. White is a citizen
16   of Texas.
17            142.     Jeffrey Brooke, listed twice in the caption of the amended complaint, is alleged to
18   be an Illinois resident. Am. Compl. ¶ 52. Mr. Brooke has an Illinois address. On information and
19   belief, Mr. Brooke is a citizen of Illinois.
20            143.     Joshua Oed is alleged to be a Texas resident. Am. Compl. ¶ 53. Mr. Oed has a Texas
21   address and is registered to vote in Texas. On information and belief, Mr. Oed is a citizen of Texas.
22            144.     James Estes is alleged to be a Colorado resident. Am. Compl. ¶ 54. Mr. Estes has a
23   Colorado address and is registered to vote in Colorado. On information and belief, Mr. Estes is a
24   citizen of Colorado.
25            145.     The complaint does not contain an allegation as to the residency of Adria Estes but
26   lists her in the caption. Ms. Estes has a Colorado address and she is registered to vote in Colorado.
27   On information and belief, Ms. Estes is a citizen of Colorado.
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 1           146.     Michael Bailey is alleged to be a Texas resident. Am. Compl. ¶ 55. Mr. Bailey has
 2   a Tennessee address and a Tennessee driver’s license. On information and belief, notwithstanding
 3   the allegation in the complaint, Mr. Bailey is a citizen of Tennessee.
 4           147.     Karthiga Jayaram is alleged to be a Colorado resident. Am. Compl. ¶ 56. Ms.
 5   Jayaram has a Colorado address and a vehicle that is registered in Colorado. On information and
 6   belief, Ms. Jayaram is a citizen of Colorado.
 7           148.     Karthikeyan Ramprasath is alleged to be a Colorado resident. Am. Compl. ¶ 56.
 8   Mr. Ramprasath has a Colorado address and a vehicle registered in Colorado. On information and
 9   belief, Mr. Ramprasath is a citizen of Colorado.
10           149.     Archan Tikoti is alleged to be a Texas resident. Am. Compl. ¶ 57. Mr. Tikoti has a
11   Texas address and he is registered to vote in Texas. On information and belief, Mr. Tikoti is a
12   citizen of Texas.
13           150.     Aashish Parekh is alleged to be an Arizona resident. Am. Compl. ¶ 58. Mr. Parekh
14   has an Arizona address. On information and belief, Mr. Parekh is a citizen of Arizona.
15           151.     Dr. Jacob Letourneau is alleged to be a Kansas resident. Am. Compl. ¶ 59. Dr.
16   Letourneau has a Kansas address and a license to practice optometry in Kansas. On information
17   and belief, he is a citizen of Kansas.
18           152.     Karla Letourneau is alleged to be a Kansas resident. Am. Compl. ¶ 59. Ms.
19   Letourneau has a Kansas address and has a vehicle registered in Kansas. On information and belief,
20   she is a citizen of Kansas.
21           153.     Konda Reddy Gadi is alleged to be an Illinois resident. Am. Compl. ¶ 60. Mr. Gadi
22   has an Illinois address and has a vehicle registered in Illinois. On information and belief, Mr. Gadi
23   is a citizen of Illinois.
24           154.     Sreelakshmi Siripuram is alleged to be an Illinois resident. Am. Compl. ¶ 60. Ms.
25   Siripuram has an Illinois address. On information and belief, Mr. Siripuram is a citizen of Illinois.
26           155.     Joshua Leykam is alleged to be an Arizona resident. Am. Compl. ¶ 61. Mr. Leykam
27   has an Arizona address. On information and belief, Mr. Leykam is a citizen of Arizona.
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 1           156.     Paige Leykam is alleged to be an Arizona resident. Am. Compl. ¶ 61. Ms. Leykam
 2   has an Arizona address and is licensed as a nurse practitioner in Arizona. On information and
 3   belief, Ms. Leykam is a citizen of Arizona.
 4           157.     Dr. Deren Flesher is alleged to be an Oklahoma resident. Am. Compl. ¶ 64. Dr.
 5   Flesher has an Oklahoma address and he is registered to vote in Oklahoma. On information and
 6   belief, Dr. Flesher is a citizen of Oklahoma.
 7           158.     Gary Young is alleged to be a Texas resident. Am. Compl. ¶ 65. Mr. Young has a
 8   Texas address and is registered to vote in Texas. On information and belief, Mr. Young is a citizen
 9   of Texas.
10           159.     The Complaint makes no allegations regarding Heidi Young’s residency but lists
11   her in the caption. Ms. Young has a Texas address and is registered to vote in Texas. On
12   information and belief, Ms. Young is a citizen of Texas.
13           160.     Dr. Ronald Cole is alleged to be an Illinois resident. Am. Compl. ¶ 67. Dr. Cole has
14   an Illinois address and has a license to practice dentistry in Illinois. On information and belief, Dr.
15   Cole is a citizen of Illinois.
16           161.     Dr. James Walker is alleged to be a Michigan resident. Am. Compl. ¶ 68. Mr
17   Walker has a Michigan address and he is licensed to practice medicine in Michigan. On
18   information and belief, Mr. Walker is a citizen of Michigan.
19           162.     Duane Okamoto is alleged to be a Washington resident. Am. Compl. ¶ 69. Mr.
20   Okamoto has a Washington address. On information and belief, Mr. Okamoto is a citizen of
21   Washington.
22           163.     Linda Okamoto is alleged to be a Washington resident. Am. Compl. ¶ 69. Ms.
23   Okamoto has a Washington address. On information and belief, Ms. Okamoto is a citizen of
24   Washington.
25           164.     Dr. Scott Burau is alleged to be a Florida resident. Am. Compl. ¶ 70. Dr. Burau has
26   a Michigan address and is licensed to practice dentistry in Michigan. On information and belief,
27   Dr. Scott Burau is a citizen of Michigan.
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 1           165.     Dr. Brad Burau is alleged to be a Florida resident. Am. Compl. ¶ 71. Dr. Burau has
 2   a Florida address and is registered to vote in Florida. On information and belief, Dr. Burau is a
 3   citizen of Florida.
 4           166.     Josh McNary is alleged to be a Texas resident. Am. Compl. ¶ 72. Mr. McNary has
 5   a Texas address and a vehicle registered in Texas. On information and belief, Mr. McNary is a
 6   citizen of Texas.
 7           167.     Dr. Robert Dost is alleged to be a Michigan resident. Am. Compl. ¶ 73. Dr. Dost
 8   has a Michigan address. On information and belief, Dr. Dost is a citizen of Michigan.
 9           168.     James Group Int, LLC is alleged to be a Nevada limited liability company. James
10   Group Compl. ¶ 1.1. According to the Nevada Secretary of State, it is organized under the laws of
11   Nevada and has an address in Carson City, Nevada. On information and belief, it is a citizen of
12   Nevada.
13           169.     Axial Tilt, LLC is alleged to be a Delaware limited liability company. Axial Tilt
14   Compl. ¶ 1. According to the Delaware Secretary of State, it is organized under the laws of
15   Delaware. On information and belief, it is a citizen of Delaware.
16           170.     Mod Holdings, LLC is alleged to be a Delaware limited liability company. Axial
17   Tilt Compl. ¶ 2. According to the Delaware Secretary of State, it is organized under the laws of
18   Delaware and according to other research, it has an address in Lewes, Delaware. On information
19   and belief, it is a citizen of Delaware.
20           171.     JRC Real Estate III, LLC is alleged to be a California limited liability company.
21   JRC Real Estate Compl. ¶ 2. According to the California Secretary of State, it is organized under
22   the laws of California and has its principal office in Queen Creek, Arizona. On information and
23   belief, it is a citizen of California and Arizona.
24           172.     Pure Water Vending is alleged to be a Washington limited liability company. Pure
25   Water Vending Compl. ¶ 1. According to the Washington Secretary of State, it is organized under
26   the laws of Washington and it has its principal office in Spokane, Washington. On information and
27   belief, it is a citizen of Washington.
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 1           173.     Emmatoine, LLC is alleged to be a Florida limited liability company. Emmatoine
 2   Compl. ¶ 1.1. According to the Florida Secretary of State, it is organized under the laws of Florida
 3   and it has its principal office in Bradenton, Florida. On information and belief, it is a citizen of
 4   Florida.
 5           174.     Rhino Manufacturing, Inc. is alleged to be a Washington corporation. Rhino
 6   Manufacturing Compl. ¶ 1. According to the Washington Secretary of State, it is incorporated in
 7   Washington and it has its principal office in Monroe, Washington. On information and belief, it is
 8   a citizen of Washington.
 9           175.     Rhino Investments, LLC is alleged to be Oregon limited liability company. Rhino
10   Manufacturing Compl. ¶ 2. According to the Oregon Secretary of State, it is organized under the
11   laws of Oregon and it has an address in Powell Butte, Oregon. On information and belief, it is a
12   citizen of Oregon.
13           176.     Rex Ventures, LLC is alleged to be a Colorado limited liability company. Rex
14   Ventures Compl. ¶ 1.1. According to the Colorado Secretary of State, it is organized under the
15   laws of Colorado and it has its principal office in Arvada, Colorado. On information and belief, it
16   is a citizen of Colorado.
17           177.     Dennis Demirjian is alleged to be a resident of Florida. Demirjian Compl. ¶ 1. Dr.
18   Demirjian has a Florida address and is licensed to practice dentistry in Florida. On information
19   and belief, Dr. Demirjian is a citizen of Florida.
20           178.     Tanushka Water Vending LLC is alleged to be a Georgia limited liability company.
21   Tanushka Water Vending Compl. ¶ 1. According to the Georgia Secretary of State, it is organized
22   under the laws of Georgia and it has its principal office in College Park, Georgia. On information
23   and belief, it is a citizen of Georgia.
24           179.     Aarana Water Vending is alleged to be a California limited liability company.
25   Tanushka Water Vending Compl. ¶ 1. According to the California Secretary of State, it is
26   organized under the laws of California and it has its principal office in Fremont, California. On
27   information and belief, it is a citizen of California.
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 1          180.      Wakanda Ventures is alleged to be a New Jersey limited liability company.
 2   Wakanda Ventures Compl. ¶ 1. According to public records, it is organized under the laws of New
 3   Jersey and it has an address in Jersey City, New Jersey. On information and belief, it is a citizen
 4   of New Jersey.
 5          181.      Paul Martinchuk is alleged to be a resident of California. Martinchuk Compl. ¶ 1.1.
 6   Mr. Martinchuk has a California address. On information and belief, Mr. Martinchuk is a citizen
 7   of California.
 8                                    DEFENDANTS’ CITIZENSHIP
 9          182.      Ryan R. Wear is alleged to reside and conduct business in Snohomish County,
10   Washington. Am. Compl. ¶ 75; James Group Compl. ¶ 1.4; Pure Water Vending Compl. ¶ 4;
11   Demirjian Compl. ¶ 8; Tanushka Water Vending Compl. ¶ 2; Wakanda Ventures Compl. ¶ 3;
12   Martinchuk Compl. ¶ 1.5. Mr. Wear has a Washington address. On information and belief, Mr.
13   Wear is a citizen of Washington.
14          183.      Rebecca A. Swain is alleged to reside in Snohomish County, Washington. Am.
15   Compl. ¶ 75; Martinchuk Compl. ¶ 1.5. Ms. Swain has a Washington address. On information and
16   belief, Ms. Swain is a citizen of Washington.
17          184.      Creative Technologies, LLC d/b/a Waterstation Technology is alleged to engage in
18   business activities in Snohomish County, Washington. Am. Compl. ¶ 76; James Group Compl.
19   ¶ 1.3; Rhino Manufacturing Compl. ¶ 3; Demirjian Compl. ¶ 3; Martinchuk Compl. ¶ 1.4.
20   According to the Washington Secretary of State, it is organized under the laws of Washington and
21   it has its principal office in Everett, Washington. On information and belief, it is a citizen of
22   Washington.
23          185.      WST Franchise Systems LLC is alleged to be registered in Washington and owned
24   by a Washington resident. Am. Compl. ¶ 77; Pure Water Vending Compl. ¶ 3; Rex Ventures
25   Compl. ¶ 1.2; Martinchuk Copml. ¶ 1.3. According to the Washington Secretary of State, it is
26   organized under the laws of Washington and it has its principal office in Everett, Washington. On
27   information and belief, it is a citizen of Washington.
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 1          186.     Water Station Management, LLC, incorrectly named in the Axial Tilt complaint as
 2   “WaterStation, LLC,” is alleged to be registered in Washington and owned by a Washington
 3   resident. Am. Compl. ¶ 78; James Group Compl. ¶ 1.2; Axil Tilt Compl. ¶ 3; JRC Real Estate
 4   Compl. ¶ 3; Pure Water Vending Compl. ¶ 2; Emmatoine Compl. ¶ 1.2; Rhino Manufacturing
 5   Compl. ¶ 4; Rex Ventures Compl. ¶ 1.3; Demirjian Compl. ¶ 2; Tanushka Water Vending Compl.
 6   ¶ 2; Wakanda Ventures Compl. ¶ 2; Martinchuk Compl. ¶ 1.2. According to the Washington
 7   Secretary of State, it is organized under the laws of Washington and it has its principal office in
 8   Everett, Washington. On information and belief, it is a citizen of Washington.
 9          187.     Kevin Nooney is alleged to be a Washington resident and to conduct business in
10   Snohomish County, Washington. Am. Compl. ¶ 79; Demirjian Compl. ¶ 7; Martinchuk Compl.
11   ¶ 1.10. Mr. Nooney has a Washington address. On information and belief, Mr. Nooney is a citizen
12   of Washington.
13          188.     Elizabeth Nooney is alleged to be a Washington resident. Am. Compl. ¶ 79;
14   Martinchuk Compl. ¶ 1.10. Ms. Nooney has a Washington address. On information and belief, Ms.
15   Nooney is a citizen of Washington.
16          189.     Refreshing USA LLC is alleged to engage in business activities in Snohomish
17   County. Am. Compl. ¶ 80; Demirjian Compl. ¶ 4. According to the Washington Secretary of State,
18   it is organized under the laws of Washington and it has its principal office in Everett, Washington.
19   On information and belief, it is a citizen of Washington.
20          190.     Summit Management Services, LLC is alleged to engage in business activities in
21   Snohomish County. Am. Compl. ¶ 81; Demirjian Compl. ¶ 6. According to the Washington
22   Secretary of State, it is organized under the laws of Washington and it has its principal office in
23   Everett, Washington. On information and belief, it is a citizen of Washington.
24          191.     Ideal Property Investments, LLC is alleged to engage in business activities in
25   Snohomish County. Am. Compl. ¶ 82; Demirjian Compl. ¶ 5. According to the Washington
26   Secretary of State, it is organized under the laws of Washington and it has its principal office in
27   Everett, Washington. On information and belief, it is a citizen of Washington.
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 1           192.     Refreshing California LLC is alleged to engage in business activities in Snohomish
 2   County. Am. Compl. ¶ 83. According to the California Secretary of State, it is organized under the
 3   laws of California and it has its principal office in Indio, California. On information and belief, it
 4   is a citizen of California.
 5           193.     Refreshing Montana, LLC is alleged to engage in business activities in Snohomish
 6   County. Am. Compl. ¶ 84. According to the Montana Secretary of State, it is organized under the
 7   laws of Montana and it has its principal office in Missoula Montana. On information and belief, it
 8   is a citizen of Montana.
 9           194.     Refreshing Mid-Atlantic, LLC is alleged to engage in business activities in
10   Snohomish County. Am. Compl. ¶ 85. According to the Pennsylvania Secretary of State, it is
11   organized under the laws of Pennsylvania. According to other research, it has a Pennsylvania
12   address. On information and belief, it is a citizen of Pennsylvania.
13           195.     Refreshing Carolinas, LLC is alleged to engage in business activities in Snohomish
14   County. Am. Compl. ¶ 86. According to the North Carolina Secretary of State, it is organized
15   under the laws of North Carolina and it has its principal office in Everett, Washington. On
16   information and belief, it is a citizen of North Carolina and Washington.
17           196.     Refreshing Great Lakes, LLC is alleged to engage in business activities in
18   Snohomish County. Am. Compl. ¶ 87. According to the Illinois Secretary of State, it is organized
19   under the laws of Illinois and it has its principal office in Elk Grove Village, Illinois. On
20   information and belief, it is a citizen of Illinois.
21           197.     WaterStation Finance Company, LLC is alleged to engage in business activities in
22   Snohomish County. Am. Compl. ¶ 88. According to the Washington Secretary of State, it is
23   organized under the laws of Washington and it has its principal office in Everett, Washington. On
24   information and believe, it is a citizen of Washington.
25           198.     Refreshing Georgia, LLC is alleged to engage in business activities in Snohomish
26   County. Am. Compl. ¶ 89. According to the Georgia Secretary of State, it is organized under the
27   laws of Georgia and it has its principal office in Marietta, Georgia. On information and belief, it
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 1   is a citizen of Georgia.
 2           199.     Creative Technologies Florida, LLC is alleged to engage in business activities in
 3   Snohomish County. Am. Compl. ¶ 90. According to the Florida Secretary of State, Creative
 4   Technologies Florida, LLC is a trade name of Creative Technologies, LLC which is a Washington
 5   LLC. According to the Washington Secretary of State, Creative Technologies, LLC is organized
 6   under the laws of Washington and has its principal office in Everett, Washington. See also supra
 7   ¶ 184. On information and belief, Creative Technologies Florida, LLC is merely a trade name for
 8   a citizen of Washington and not an unincorporated association whose citizenship must be
 9   separately alleged.
10           200.     Refreshing Florida, LLC is alleged to engage in business activities in Snohomish
11   County. Am. Compl. ¶ 91. According to the Florida Secretary of State, it is organized under the
12   laws of Florida and it has its principal office in Fort Myers, Florida. On information and belief, it
13   is a citizen of Florida.
14           201.     2129 Andrea Lane LLC is alleged to engage in business activities in Snohomish
15   County. Am. Compl. ¶ 92. According to the Wyoming Secretary of State, it is formed under the
16   laws of Wyoming and it has its principal office in Jackson, Wyoming. On information and belief,
17   it is a citizen of Wyoming.
18           202.     3209 Van Buren LLC is alleged to engage in business activities in Snohomish
19   County. Am. Compl. ¶ 93. According to the Wyoming Secretary of State, it is formed under the
20   laws of Wyoming and it has its principal office in Jackson, Wyoming. On information and belief,
21   it is a citizen of Wyoming.
22           203.     Ice & Water Vendors, LLC is alleged to engage in business activities in Snohomish
23   County. Am. Compl. ¶ 95. According to the Arizona Corporation Commission, it is formed under
24   the laws of Arizona and it has its principal office in Apache Junction, Arizona. On information
25   and belief, it is a citizen of Arizona.
26           204.     Ideal Industrial Park, LLC is alleged to engage in business activities in Snohomish
27   County. Am. Compl. ¶ 96. According to the Wyoming Secretary of State, it is organized under the
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 1   laws of Wyoming and it has its principal office in Jackson, Wyoming. On information and belief,
 2   it is a citizen of Wyoming.
 3          205.     Ideal AZ Property Investments, LLC is alleged to engage in business activities in
 4   Snohomish County. Am. Compl. ¶ 97. According to the Arizona Corporations Commission, Ideal
 5   AZ Property Investments, LLC is the fictitious name for Ideal Property Investments, LLC, see
 6   supra ¶ 191, a Washington citizen. On information and belief, Ideal AZ Property Investments,
 7   LLC is not an unincorporated association whose citizenship must be separately alleged.
 8          206.     K-2 Acquisition, LLC is alleged to engage in business activities in Snohomish
 9   County. Am. Compl. ¶ 98. According to the Washington Secretary of State, it is organized under
10   the laws of Washington and it has its principal office in Everett, Washington. On information and
11   belief, it is a citizen of Washington.
12          207.     Emery Development, LLC is alleged to engage in business activities in Snohomish
13   County. Am. Compl. ¶ 99. According to the Washington Secretary of State, it is organized under
14   the laws of Washington and it has its principal office in Everett, Washington. On information and
15   belief, it is a citizen of Washington.
16          208.     Arizona Water Vendors Incorporated is alleged to be a limited liability company
17   owned by a Washington resident. According to the Arizona Corporation Commission, it is a
18   corporation incorporated in Arizona and has an office in Apache Junction, Arizona. On
19   information and belief, it is a citizen of Arizona.
20          209.     WST AZ Properties LLC is alleged to engage in business activities in Snohomish
21   County. Am. Compl. ¶ 101. According to the Arizona Corporation Commission, it is organized
22   under the laws of Arizona and it has a Washington address. On information and belief, it is a citizen
23   of Washington and Arizona.
24          210.     1118 Virginia Street LLC, named in the case caption as 1118 Virginia Avenue LLC
25   but described in the body as 1118 Virginia Street, is alleged to engage in business activities in
26   Snohomish County. Am. Compl. ¶ 102. According to the Washington Secretary of State, it is
27   organized under the laws of Washington and it has its principal office in Everett, Washington. On
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 1   information and belief, it is a citizen of Washington.
 2          211.     11519 South Petropark LLC is alleged to engage in business activities in
 3   Snohomish County. Am. Compl. ¶ 103. According to the Washington Secretary of State, it is
 4   organized under the laws of Washington and it has its principal office in Houston, Texas. On
 5   information and belief, it is a citizen of Washington and Texas.
 6          212.     TCR Plumbing, LLC is alleged to engage in business activities in Snohomish
 7   County. Am. Compl. ¶ 104. According to the Arizona Corporation Commission, it is organized
 8   under the laws of Arizona and it has an address in Everett, Washington. On information and belief,
 9   it is a citizen of Arizona and Washington.
10          213.     3422 W Clarendon Ave LLC is alleged to engage in business activities in
11   Snohomish County. Am. Compl. ¶ 105. According to the Wyoming Secretary of State, it is
12   organized under the laws of Wyoming and its principal office is in Jackson, Wyoming. On
13   information and belief, it is a citizen of Wyoming.
14          214.     1206 Hewitt Ave LLC is alleged to engage in business activities in Snohomish
15   County. Am. Compl. ¶ 106. According to the Washington Secretary of State, it is organized under
16   the laws of Washington and it has its principal office in Everett, Washington. On information and
17   belief, it is a citizen of Washington.
18          215.     Waterstation Technology II, LLC is alleged to engage in business activities in
19   Snohomish County. Am. Compl. ¶ 107. According to the Wyoming Secretary of State, it is
20   organized under the laws of Wyoming and has its principal office in Everett, Washington. On
21   information and belief, it is a citizen of Wyoming and Washington.
22          216.     Pistol, Inc. is alleged to be a Wyoming corporation. Am. Compl. ¶ 108. According
23   to the Wyoming Secretary of State, it is incorporated in Wyoming and has its principal office in
24   Jackson, Wyoming. On information and belief, it is a citizen of Wyoming.
25          217.     Smokey Point Holdings, LLC is alleged to engage in business activities in
26   Snohomish County. Am. Compl. ¶ 109. According to the Wyoming Secretary of State, it is
27   organized under the laws of Wyoming and has its principal office in Jackson, Wyoming. On
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 1   information and belief, it is a citizen of Wyoming.
 2          218.     602 South Meadow, LLC is alleged to engage in business activities in Snohomish
 3   County. Am. Compl. ¶ 111. According to the Wyoming Secretary of State, it is formed under the
 4   laws of Wyoming and it has its principal office in Jackson, Wyoming. On information and belief,
 5   it is a citizen of Wyoming.
 6          219.     719 Eden, LLC is alleged to engage in business activities in Snohomish County and
 7   to be owned, operated, and controlled by Defendant Ryan Wear. Am. Compl. ¶ 110. Public records
 8   searches do not reveal its state of organization or principal place of business. Public records
 9   searches do reveal that a company named 701 Eden is organized under the laws of North Carolina
10   and it has its principal office in Jackson, Wyoming. Nonetheless, on the basis of the amended
11   complaint and on information and belief, 719 Eden, LLC is a citizen of Washington.
12          220.     343 Group LLC is named in the caption of the amended complaint, see Am. Compl.
13   at 3–4, but not in the body of the amended complaint. “Group, LLC” is named in the body of the
14   amended complaint and is alleged to engage in business activities in Snohomish County and to be
15   owned, operated, and controlled by Defendant Ryan Wear. Am. Compl. ¶ 112. Public records
16   searches do not reveal the state of organization or principal place of business of a company by
17   either name. On information and belief, it is a citizen of Washington where Mr. Ryan Wear is
18   domiciled.
19          221.     4300 Forest LLC is alleged to engage in business activities in Snohomish County.
20   Am. Compl. ¶ 113. According to the Wyoming Secretary of State, it is organized under the laws
21   of Wyoming and it has its principal office in Jackson, Wyoming. On information and belief, it is
22   a citizen of Wyoming.
23          222.     70 NO Garden, LLC is alleged to engage in business activities in Snohomish
24   County and to be owned, operated, and controlled by Defendant Ryan Wear. Am. Compl. ¶ 114.
25   Public records searches do not reveal its state of organization or principal place of business. On
26   information and belief, it is a citizen of Washington where Mr. Ryan Wear is domiciled.
27          223.     204 NWW LLC is alleged to engage in business activities in Snohomish County.
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 1   Am. Compl. ¶ 115. According to the Wyoming Secretary of State, it is organized under the laws
 2   of Wyoming and it has its principal office in Jackson, Wyoming. On information and belief, it is
 3   a citizen of Wyoming.
 4           224.     Waterstation Techventure, LLC is alleged to engage in business activities in
 5   Snohomish County. Am. Compl. ¶ 116. According to the Washington Secretary of State, it has
 6   been voluntarily dissolved, but it was organized under the laws of Washington and it had its
 7   principal office in Everett, Washington. On information and belief, Waterstation Techventure,
 8   LLC is a citizen of Washington.
 9           225.     Water Station Holdings LLC is alleged to engage in business activities in
10   Snohomish County. Am. Compl. ¶ 117. According to the Indiana Secretary of State, it is organized
11   under the laws of Indiana and its principal office is in Indianapolis, Indiana. On information and
12   belief, it is a citizen of Indiana.
13           226.     Waterstation Technology, LLC is alleged to be the trade name of Creative
14   Technologies, LLC. Am. Compl. ¶ 76. Separately, the amended complaint alleges, “Water Station
15   Holdings, LLC, WaterStation Technology, LLC, on information and belief, is a limited liability
16   company owned, operated, and controlled by Defendant Wear that engages in business activities
17   in Snohomish County.” Am. Compl. ¶ 117. On information and belief, Waterstation Technology,
18   LLC is the trade name for a citizen of Washington, see supra ¶ 184, not an unincorporated
19   association whose citizenship must be separately alleged.
20           227.     Refreshing Colorado LLC is alleged to engage in business activities in Snohomish
21   County. Am. Compl. ¶ 117. According to the Colorado Secretary of State, it is organized under
22   the laws of Colorado and its principal office is in Colorado Springs, Colorado. On information and
23   belief, it is a citizen of Colorado.
24           228.     Arizona Water Vendors Inc. (named in the complaint as Arizona Vendors Inc.) is
25   alleged to be a “limited liability company” and to be owned by a Washington resident. According
26   to the Arizona Corporation Commission, Arizona Water Vendors, Inc. is incorporated in Arizona
27   and has its principal office in Everett, Washington. On information and belief, it is a citizen of
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 1   Washington and Arizona.
 2          229.     Golden State Vending, LLC is alleged to engage in business activities in Snohomish
 3   County. Am. Compl. ¶ 120. According to the Washington Secretary of State, it is organized under
 4   the laws of Washington and its principal office is in Everett, Washington. On information and
 5   belief, it is a citizen of Washington.
 6          230.     Refreshing Florida LLC is alleged to engage in business activities in Snohomish
 7   County. Am. Compl. ¶ 121. According to the Florida Secretary of State, it is organized under the
 8   laws of Florida and its principal office is in Fort Myers, Florida. On information and belief, it is a
 9   citizen of Florida.
10          231.     Refreshing Midwest, LLC is alleged to engage in business activities in Snohomish
11   County. Am. Compl. ¶ 122. According to the Indiana Secretary of State, it is pending
12   administrative dissolution, but it is organized under the laws of Indiana and it has its principal
13   office in Indianapolis, Indiana. On information and belief, it is a citizen of Indiana.
14          232.     Refreshing Midwest Real Estate, LLC is alleged to engage in business activities in
15   Snohomish County. Am. Compl. ¶ 123. According to the Indiana Secretary of State, it is pending
16   administrative dissolution, but it is organized under the laws of Indiana and it has its principal
17   office in Indianapolis, Indiana. On information and belief, it is a citizen of Indiana.
18          233.     Refreshing New Mexico, LLC is alleged to engage in business activities in
19   Snohomish County. Am. Compl. ¶ 124. According to the New Mexico Secretary of State, it is
20   organized under the laws of New Mexico and it has its principal office in Albuquerque, New
21   Mexico. On information and belief, it is a citizen of New Mexico.
22          234.     Refreshing New England, LLC is alleged to engage in business activities in
23   Snohomish County. Am. Compl. ¶ 125. According to the New Hampshire Secretary of State, it is
24   organized under the laws of New Hampshire and it has its principal office in Manchester, New
25   Hampshire. On information and belief, it is a citizen of New Hampshire.
26          235.     Refreshing Texas LLC is alleged to engage in business activities in Snohomish
27   County. Am. Compl. ¶ 126. According to the Texas Secretary of State, it is organized under the
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 1   laws of Texas and it has an address in Everett, Washington. On information and belief, it is a
 2   citizen of Texas and Washington.
 3          236.     Refreshing Oklahoma LLC is alleged to engage in business activities in Snohomish
 4   County and to be owned, operated, and controlled by Defendant Ryan Wear. Am. Compl. ¶ 127.
 5   Public records searches do not reveal its state of organization or principal place of business. On
 6   information and belief, it is a citizen of Washington, where Mr. Ryan Wear is domiciled.
 7          237.     Refreshing Washington, LLC is alleged to engage in business activities in
 8   Snohomish County. Am. Compl. ¶ 128. According to the Washington Secretary of State, it is
 9   organized under the laws of Washington and it has its principal office in Everett, Washington. On
10   information and belief, it is a citizen of Washington.
11          238.     Smart Soda Holdings, Inc. is alleged to do business in Snohomish County,
12   Washington and to be owned by a Washington resident. Am. Compl. ¶ 129. According to the
13   Delaware Secretary of State, it is organized under the laws of Delaware. According to other
14   research, it has an Ohio address. On information and belief, it is a citizen of Delaware and Ohio.
15          239.     Vendpro, LLC d/b/a Elitevend is alleged to do business in Snohomish County,
16   Washington and to be owned by a Washington resident. Am. Compl. ¶ 130. According to the
17   Washington Secretary of State, it is organized under the laws of Washington and it has its principal
18   office in Everett, Washington. On information and belief, it is a citizen of Washington.
19          240.     Harrison Street, LLC is alleged to engage in business activities in Snohomish
20   County. Am. Compl. ¶ 131. According to the Washington Secretary of State, it is organized under
21   the laws of Washington and it has its principal office in Des Moines, Washington. On information
22   and belief, it is a citizen of Washington.
23          241.     602 South Mean LLC is alleged to do business in Snohomish County and to be
24   owned, operated, and controlled by Defendant Ryan Wear. Am. Compl. ¶ 132. Public record
25   searches do not reveal its state of organization or principal place of business. On information and
26   belief, it is a citizen of Washington, where Mr. Wear is domiciled.
27          242.     The complaint makes no allegations about 8825 LLC. According to the Wyoming
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 1   Secretary of State, it is formed under the laws of Wyoming and it has its principal office in Jackson,
 2   Wyoming. On information and belief, it is a citizen of Wyoming.
 3          243.     Unibank is alleged to be organized in Washington and to engage in business
 4   activities in Snohomish County, Washington. Am. Compl. ¶ 134. According to the Washington
 5   Secretary of State, Unibank is incorporated in Washington and has its principal office in
 6   Lynnwood, Washington. On information and belief, Unibank is a citizen of Washington.
 7          244.     U & I Financial Corp. is alleged to be organized under the laws of Washington and
 8   to engage in business activities in Snohomish County, Washington. Am. Compl. ¶ 134. According
 9   to the Washington Secretary of State, U & I is incorporated in Washington and has its principal
10   office in Lynnwood, Washington. On information and belief, U & I is a citizen of Washington.
11          245.     Simon Bai is alleged to be a Washington resident. Am. Compl. ¶ 136. Mr. Bai has
12   a Washington address and a vehicle registered in Washington. On information and belief, Mr. Bai
13   is a citizen of Washington.
14          246.     Stephanie Yoon is alleged to be a Washington resident. Am. Compl. ¶ 136. Ms.
15   Yoon has a Washington address. On information and belief, Ms. Yoon is a citizen of Washington.
16          247.     D. Benjamin Lee is alleged to be a Washington resident. Am. Compl. ¶ 136. Mr.
17   Lee has a Washington address and a vehicle registered in Washington. On information and belief,
18   Mr. Lee is a citizen of Washington.
19          248.     Peter Park is alleged to be a Washington resident. Am. Compl. ¶ 136. Mr. Park has
20   a Washington address. On information and belief, Mr. Park is a citizen of Washington.
21          249.     First Fed Bank is incorporated in Washington and has its principal office in Port
22   Angeles, Washington. First Fed Bank is a citizen of Washington.
23          250.     First Northwest Bancorp, incorrectly named in the caption as First Northwest
24   Bankcorp, is incorporated in Washington and has its principal office in Port Angeles, Washington.
25   It is a citizen of Washington.
26          251.     Norman Tonina is a citizen of Washington.
27          252.     Craig Curtis is a citizen of Washington.
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 1              253.     Jennifer Zaccardo is a citizen of Washington.
 2              254.     Cindy Finnie is a citizen of Washington.
 3              255.     Dana Behar is a citizen of Washington.
 4              256.     Matthew Deines is a citizen of Washington.
 5              257.     Sherilyn Anderson is a citizen of Washington.
 6              258.     Gabriel Galanda is a citizen of Washington.
 7              259.     Lynn Terwoerds is a citizen of Washington.
 8              260.     Larry Houk is alleged to be a Washington resident. Am. Compl. ¶ 141. Mr. Houk
 9   has a Washington address. On information and belief, Mr. Houk is a citizen of Washington.
10              261.     Northwest Financial Services, LLC is alleged to conduct business in Snohomish
11   County and to be owned and operated by Mr. Houk. Am. Compl. ¶ 141. Public records show no
12   entity called Northwest Financial Services, LLC. Public records show Mr. Houk is associated with
13   a company called Northwest Funding Services, LLC. Nevertheless, based on the amended
14   complaint, and on information and belief, Northwest Financial Services, LLC is a Washington
15   citizen.
16              262.     Richard Wear is alleged to be a Washington resident. Am. Compl. ¶ 133. Dr. Wear
17   has a Washington address and a license to practice medicine in Washington. On information and
18   belief, Dr. Wear is a citizen of Washington.
19   /////
20   /////
21   /////
22   /////
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 1         DATED this 1st day of August, 2024.
 2                                               LANE POWELL PC
 3
                                                 By:   s/ Gregory R. Fox
 4                                                     Gregory R. Fox, WSBA No. 30559
                                                       foxg@lanepowell.com
 5
                                                       s/ Andrew G. Yates
 6
                                                       Andrew G. Yates, WSBA No. 34239
 7                                                     yatesa@lanepowell.com

 8                                                     s/ Devon J. McCurdy
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10
                                                       s/ Dailey Koga
11                                                     Dailey Koga, WSBA No. 58683
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                                                 Attorneys for Defendants First Fed Bank, First
16                                               Northwest Bancorp, Norman Tonina, Craig Curtis,
                                                 Jennifer Zaccardo, Cindy Finnie, Dana Behar,
17                                               Matthew Deines, Sherilyn Anderson, Gabriel
                                                 Galanda, and Lynn Terwoerds
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 1                                   CERTIFICATE OF SERVICE
 2          I, Kathryn M. Savaria, hereby certify under penalty of perjury of the laws of the State of

 3   Washington that on the 1st day of August, 2024, I caused to be served a copy of the

 4   foregoing NOTICE OF REMOVAL via U.S. Mail and electronic mail, on the following

 5   person(s) at the following address(es):

 6
                Pacific Water Technology v. Ryan Wear, et al. Case No. 24-2--2887-31
 7

 8   Amit D. Ranade, WSBA No. 34878                  David R. Ebel, WSBA No. 28853
     Rachael E. Clark, WSBA No. 57277                Allen R. Benson, WSBA No. 51137
 9
     Snell & Wilmer L.L.P.                           Schwabe, Williamson & Wyatt, P.C.
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11   aranade@swlaw.com                               Phone: 206-622-1711
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     Spruce Waters Investments, LLC               Pacific Water Technology, LLC
 8   Indiana Water Technology, LLC                Spruce Waters Investments, LLC
     AR Water Supply, LLC                         Indiana Water Technology, LLC
 9   BLC Water Company, LLC                       AR Water Supply, LLC
     Granite Street Ventures, LLC                 BLC Water Company, LLC
10   Rumson Wellness, LLC                         Granite Street Ventures, LLC
11   Brown Family Enterprises, LLC                Rumson Wellness, LLC
     Kmandy Investments, LLC                      Brown Family Enterprises, LLC
12   Ever Upward, Inc.                            Kmandy Investments, LLC
     Sun A Wy, LLC                                Ever Upward, Inc.
13   Siripi WST, LLC                              Sun A Wy, LLC
     Livingwater Station, LLC                     Siripi WST, LLC
14
     Grayfin Ventures, LLC                        Livingwater Station, LLC
15   Prasiti Water Investments, LLC               Grayfin Ventures, LLC
     JBF Consulting Services, LLC                 Prasiti Water Investments, LLC
16   Coco Aqua, LLC                               JBF Consulting Services, LLC
     Q & V LLC, WaterStation Technology of        Coco Aqua, LLC
17   Rockville                                    Q & V LLC, WaterStation Technology of
     Arravend, LLC                                Rockville
18
     Flatlands Equipment, LLC                     Arravend, LLC
19   C&C Investment Holdings, LLC                 Flatlands Equipment, LLC
     Great Oak Water, Limited Liability Company   C&C Investment Holdings, LLC
20   WV Water Tech, LLC                           Great Oak Water, Limited Liability Company
     Kdawg Crypto, LLC                            WV Water Tech, LLC
21   Culminate Water Technology, LLC              Kdawg Crypto, LLC
     Chaurishi Retail Enterprises, LLC            Culminate Water Technology, LLC
22
     Progressive Partners, LLC                    Chaurishi Retail Enterprises, LLC
23   210 SA Holding, LLC                          Progressive Partners LLC
     WST Utah LLC                                 210 SA Holding, LLC
24   V2S2, LLC                                    WST Utah LLC
     Cyborg Holdings, LLC                         V2S2, LLC
25   Ash Vending, LLC                             Cyborg Holdings, LLC
26   Adventure Done Right, LLC                    Ash Vending, LLC
     Big Boy Tools LLC                            Adventure Done Right, LLC
27   Roman Jarosiewicz                            Big Boy Tools LLC

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 1
     Abby Wyatt Group, Inc.                  Roman Jarosiewicz
 2   Aiden Waterworks, LLC                   Abby Wyatt Group, Inc.
 3   Horeb Water Solutions, LLC              Aiden Waterworks, LLC
     Silver Oak H2O, LLC                     Horeb Water Solutions, LLC
 4   NS SQ ECO Waters, LLC                   Silver Oak H2O, LLC
     JK Seven LLC                            NS SQ ECO Waters, LLC
 5   Jeffrey Brooke                          JK Seven LLC
     Oed Properties LLC                      Jeffrey Brooke
 6   JLE Enterprises, LLC                    Oed Properties LLC
 7   Be of Service, LLC                      JLE Enterprises, LLC
     Etania, LLC                             Be of Service,LLC
 8   Nira Enterprises, LLC                   Etania, LLC
     Facts Property Services, LLC            Nira Enterprises, LLC
 9   IMLSunshine, LLC                        Facts Property Services, LLC
     Redwaters, LLC                          IMLSunshine, LLC
10   Starter Holdings, LLC                   Redwaters, LLC
11   Helmut Giewat                           Starter Holdings, LLC
     May Auerbach                            Helmut Giewat
12   Royal Reservoirs, LLC                   May Auerbach
     Aqualux Water, LLC                      Royal Reservoirs, LLC
13   RCWSTECH1157, LLC                       Aqualux Water LLC
     COLEWSTECH, LLC                         RCWSTECH1157, LLC
14
     Maji 8377, LLC                          COLEWSTECH, LLC
15   Oaks Waterstation Tech, LLC             Maji 8377, LLC
     SDB H20, LLC                            Oaks Waterstation Tech, LLC
16   Half Full Vending, LLC                  SDB H20, LLC
     RDWSTECH3594, LLC                       Half Full Vending, LLC
17   Rose Trail Ventures, LLC                RDWSTECH3594, LLC
     Rose Trail Ventures 2, LLC              Rose Trail Ventures, LLC
18
     Pravin Thakkar Jr.                      Rose Trail Ventures 2, LLC
19   Kwansoo Lee, DDS                        Pravin Thakkar Jr.
     Tom Anderson                            Kwansoo Lee, DDS
20   Abbey Anderson                          Tom Anderson
     Brian Chu, DDS                          Abbey Anderson
21   Larina Chu                              Brian Chu, DDS
     David Schroeder                         Larina Chu
22
     Sarah Schroeder                         David Schroeder
23   Reginald Franklin                       Sarah Schroeder
     Angel Franklin                          Reginald Franklin
24   Dylan Ross                              Angel Franklin
     Taylor Ross                             Dylan Ross
25   Cody Bishop                             Taylor Ross
26   David Brown                             Cody Bishop
     Karthika Mandyam                        David Brown
27   David Beranek                           Karthika Mandyam

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 1
     Susan Pinkerton                         David Beranek
 2   Radhika Siripireddy                     Susan Pinkerton
 3   Karl Schoenleber                        Radhika Siripireddy
     James Sartain                           Karl Schoenleber
 4   Nirupa Keskar                           James Sartain
     John Flack                              Nirupa Keskar
 5   Trung Nguyen                            John Flack
     Li Liang                                Trung Nguyen
 6   Tan Quan Nguyen                         Li Liang
 7   Ashoka Sheanh                           Tan Quan Nguyen
     Mathew Fellows                          Ashoka Sheanh
 8   Charles Coggins                         Mathew Fellows
     Thomas Wawersich                        Charles Coggins
 9   Jason Blough                            Thomas Wawersich
     Michele Blough                          Jason Blough
10   Karen Lavin                             Michele Blough
11   Padma Kandikonda                        Karen Lavin
     Pavan Kandikonda                        Padma Kandikonda
12   James Vilt II                           Pavan Kandikonda
     Basant Kumar                            James Vilt II
13   Radhika Kamalla                         Basant Kumar
     Marc Hildebrand                         Radhika Kamalla
14
     Debra Hildebrand                        Marc Hildebrand
15   Merrill Stoddard                        Debra Hildebrand
     Danielle Stoddard                       Merrill Stoddard
16   Venkita Sharma                          Danielle Stoddard
     Timothy Dailey                          Venkita Sharma
17   Robert Hoery                            Timothy Dailey
     Stefani Hoery                           Robert Hoery
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     Sean Done                               Stefani Hoery
19   Anna Done                               Sean Done
     Sterling Davis                          Anna Done
20   Mark Fleming                            Sterling Davis
     Stacey Fleming                          Mark Fleming
21   Bo Yang                                 Stacey Fleming
     Steven Wells                            Bo Yang
22
     Dustin Braeger                          Steven Wells
23   Navaneeth Kumar                         Dustin Braeger
     William White                           Navaneeth Kumar
24   Jeannette White                         William White
     Jeffrey Brooke                          Jeannette White
25   Joshua Oed                              Jeffrey Brooke
26   James Estes                             Joshua Oed
     Adria Estes                             James Estes
27   Michael Bailey                          Adria Estes

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     Karthiga Jayaram                       Michael Bailey
 2   Karthikeyan Ramprasath                 Karthiga Jayaram
 3   Archan Tlkoti                          Karthikeyan Ramprasath
     Aashish Parekh                         Archan Tlkoti
 4   Jacob Letourneau                       Aashish Parekh
     Karla Letourneau                       Jacob Letourneau
 5   Konda Reddy Gadi                       Karla Letourneau
     Sreelakshmi Siripuram                  Konda Reddy Gadi
 6   Joshua Leykam                          Sreelakshmi Siripuram
 7   Paige Leykam                           Joshua Leykam
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 8   Gary Young                             Deren Flesher, DDS
     Heidi Young                            Gary Young
 9   Ronald Cole, DDS                       Heidi Young
     James Walker, DDS                      Ronald Cole, DDS
10   Duane Okamoto                          James Walker, DDS
11   Linda Okamoto                          Duane Okamoto
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     Josh McNary                            Brad Burau, DDS
13   Robert Dost, DDS                       Josh McNary
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     Technology                                    Water Station Management, LLC
 8   WST Franchise Systems, LLC                    Refreshing USA, LLC
     Water Station Management, LLC                 Summit Management Services, LLC
 9   Refreshing USA, LLC                           Ideal Property Investments, LLC
     Summit Management Services, LLC               Refreshing California LLC
10   Ideal Property Investments, LLC               Refreshing Montana LLC
11   Refreshing California LLC                     Refreshing Mid-Atlantic, LLC
     Refreshing Montana, LLC                       Refreshing Carolines, LLC
12   Refreshing Mid-Atlantic, LLC                  Refreshing Great Lakes, LLC
     Refreshing Carolines, LLC                     Waterstation Finance Company, LLC
13   Refreshing Great Lakes, LLC                   Refreshing Georgia, LLC
     Waterstation Finance Company, LLC             Creative Technologies Florida, LLC
14
     Refreshing Georgia, LLC                       Refreshing Florida, LLC
15   Creative Technologies Florida, LLC            2129 Andrea Lane LLC
     Refreshing Florida, LLC                       3209 Van Buren LLC
16   2129 Andrea Lane LLC                          Ice & Water Vendors, LLC
     3209 Van Buren LLC                            Ideal Industrial Park, LLC
17   Ice & Water Vendors, LLC                      Ideal AZ Property Investments, LLC
     Ideal Industrial Park, LLC                    K-2 Acquisition, LLC
18
     Ideal AZ Property Investments, LLC            Emery Development, LLC
19   K-2 Acquisition, LLC                          Arizona Water Vendors Incorporated
     Emery Development, LLC                        WST AZ Properties LLC
20   Arizona Water Vendors Incorporated            1118 Virginia Avenue LLC
     WST AZ Properties LLC                         11519 South Petropark LLC
21   1118 Virginia Avenue LLC                      TCR Plumbing, LLC
     11519 South Petropark LLC                     3422 W Clarendon Ave LLC
22
     TCR Plumbing, LLC                             1206 Hewitt Ave LLC
23   3422 W Clarendon Ave LLC                      Waterstation Technology II, LLC
     1206 Hewitt Ave LLC                           Pistol, Inc.
24   Waterstation Technology II, LLC               Smokey Point Holdings, LLC
     Pistol, Inc.                                  602 South Meadow, LLC
25   Smokey Point Holdings, LLC
26   602 South Meadow, LLC

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 1           Pure Water Vending LLC v. Water Station Management, No 24-2-00583-31
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 8             Rex Ventures, LLC v. WST Franchise System LLC, No. 24-2-01438-31
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            JRC Real Estate III, LLC v. Water Stations Management, No. 23-2-08864-31
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             Wakanda Ventures, LLC v. Water Station Management, No. 24-2-02919-31
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 1            James Group Int., LLC v. Water Station Management, No. 23-2-07449-31
 2   Paul A. Barrera, WSBA No. 51990                 Patrick L. Vail, WSBA No. 34513
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 9                  Axial Tilt, LLC, et al. v. Waterstation, LLC; No. 23-2-08829-31
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16               Emmatoine LLC v. Water Station Management, No. 24-2-01283-31

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 1            Rhino Manufacturing, et al. v. Creative Technologies, No. 24-2-01362-31
 2   Todd J. Cook, WSBA # 44729                  Patrick L. Vail, WSBA No. 34513
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     Rhino Investments LLC
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 8
                      Paul Martinchuk v. Waterstation, LLC; No. 24-2-03489-31
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 1            Dennis Demirjian v. Water Station Management et al.; No. 24-2-02346-31
 2   Samuel E. Baker, Jr., WSBA #3872             Patrick L. Vail, WSBA No. 34513
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 7                                                Ideal Property Investments
                                                  Summit Management Services LLC
 8                                                Ryan Wear

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14             Tanushka Water Vending v. Ryan Wear, et al.; Case No. 24-2-02684-31
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            DATED this 1st day of August, 2024.
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22                                                 s/Kathryn Savaria
23                                                Kathryn Savaria

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